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     Carolyn Smith, et al. v. James E. Bailey,
                      et al.

                                 James Bailey

                                April 29, 2025




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                                     EXHIBIT 5
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                                                                         Page 1
                IN THE UNITED STATES DISTRICT COURT FOR THE
                      SOUTHERN DISTRICT OF MISSISSIPPI
                             WESTERN DIVISION

          CAROLYN SMITH, SHAQUITA McCOMB,                       PLAINTIFFS
          BONITA BLAKE, SANDRA SANDERS,
          AND JAMES ELLIS, JR.

          VS.                  CIVIL ACTION NO. 5:24-cv-72-DCB-ASH

          JAMES E. BAILEY, IN HIS                               DEFENDANTS
          INDIVIDUAL CAPACITY AND IN HIS
          OFFICIAL CAPACITY AS SHERIFF OF
          JEFFERSON COUNTY, MISSISSIPPI,
          AND DIRECTOR OF THE
          JEFFERSON-FRANKLIN REGIONAL
          CORRECTIONAL FACILITY, AND
          JEFFERSON COUNTY, MISSISSIPPI




                        DEPOSITION OF JAMES E. BAILEY

            Taken at the Jefferson County Circuit Courthouse,
                            1483 Main Street,
                          Fayette, Mississippi,
                       on Tuesday, April 29, 2025,
                  beginning at approximately 1:55 p.m.




                                    REPORTED BY:

                     ELLA J. HARDWICK, CVR-M, CCR #1749



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      1              APPEARANCES                               1                  EXHIBITS
      2     CARROLL E. RHODES, ESQ.                            2      NO.           DESCRIPTION          PAGE
            Law Offices of Carroll Rhodes                      3     Exhibit 1 Organizational Chart       30
      3     119 Downing Street                                 4     Exhibit 2 General Policy on Employment     34
            Hazlehurst, Mississippi 39083-3001                 5     Exhibit 3 Equal Opportunity Policy     35
                                                               6     Exhibit 4 Letter to Employees Dated     47
      4       Email: Crhode@bellsouth.net                                     10/17/2023
      5       COUNSEL FOR PLAINTIFFS                           7
      6                                                              Exhibit 5   "Now Hiring" Advertisement          56
            THOMAS L. CARPENTER, JR., ESQ.                     8
      7     Wise Carter                                              Exhibit 6 Defendants' Answers to          59
            2510 14th Street, Suite 1125                       9              Plaintiffs' First Set of
      8     Gulfport, Mississippi 39501                                       Interrogatories
              Email: Tlc@wisecarter.com                        10
      9                                                              Exhibit 7 Letter to C. Smith re Denial     73
              COUNSEL FOR DEFENDANTS                           11             of Re-Employment
     10                                                        12    Exhibit 8 Letter to S. McComb re           86
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     11   ALSO PRESENT: Ms. Carolyn Smith                      13
     12                                                              Exhibit 9 Letter to B. Blake re Denial     91
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     14                                                        15    Exhibit 10 Letter to S. Sanders re        99
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     16                                                        16
     17                                                              Exhibit 11 Letter to J. Ellis re Denial   100
     18                                                        17             of Re-Employment
     19                                                        18
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                                                               23
     24                                                        24
     25                                                        25


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      1               TABLE OF CONTENTS                         1               MR. CARPENTER: Usual stipulations,
      2                                          PAGE           2           and we'll see about read and signing at
      3   Title Page..................................... 1     3           the end.
      4   Appearance Page................................ 2     4               MR. RHODES: Yeah, yeah.
      5   Table of Contents.............................. 3     5               MR. CARPENTER: That'll work.
      6   Exhibit Index.................................. 4     6               MR. RHODES: Usual stipulations.
      7   Certificate of Court Reporter..................109    7                  JAMES E. BAILEY,
      8                                                         8             having been first duly sworn,
                        EXAMINATION                             9         was examined and testified as follows:
      9
                                                               10                   EXAMINATION
          Examination By Mr. Rhodes...................... 5
     10                                                        11     BY MR. RHODES:
     11                                                        12        Q. Good afternoon, Sheriff Bailey.
     12                                                        13        A. How you doing today?
     13                                                        14        Q. All right. My name is Carroll Rhodes, and
     14                                                        15     I represent Ms. Carolyn Smith and the other
     15                                                        16     plaintiffs that filed a case against you and the
     16                                                        17     county.
     17                                                        18        A. Okay.
     18                                                        19        Q. And we're here today to take a deposition.
     19                                                        20     And have you given a deposition before?
     20                                                        21        A. No.
     21                                                        22        Q. Okay. A deposition is just like testimony
     22                                                        23     in court with the judge, except we don't have a
     23
                                                               24     judge here. We have a court reporter who took your
     24
     25                                                        25     oath just like you would be in court.



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      1          And the testimony that you're giving to        1           And Peter Walker got elected in '93, and I
      2   the deposition is the same as testimony as if you     2     worked with him, and I also started working with
      3   were on the witness stand.                            3     Alcorn PD in 1993. That's who I went through the
      4      A. Correct.                                        4     police academy with, too, Alcorn PD. And from
      5      Q. So you understand that the process is --        5     there I moved -- after deputy, I moved to sergeant
      6      A. Yes, sir.                                       6     with the sheriff's department here in Jefferson
      7      Q. -- the same just like a courtroom?              7     County. I was a sergeant at Alcorn State
      8      A. Okay.                                           8     University and campus police.
      9      Q. And I might ask a convoluted question or a      9           And from there, I resigned from Alcorn
     10   question that doesn't make sense. Don't hesitate     10     January 31st of 2001. I still was working here. I
     11   to tell me. If you don't understand, ask me to       11     had, like, 13 years in law enforcement then. So I
     12   rephrase or re-ask a question.                       12     moved from sergeant up to chief deputy later on,
     13      A. Okay.                                          13     maybe around 2017, something like that.
     14      Q. Let me start with your name. Could you         14           I moved up to chief deputy up under the
     15   give the court reporter your full name?              15     administration of Peter Walker. I seek for sheriff
     16      A. James, J-A-M-E-S, E, as in Edward,             16     in 2019 and took office in 2020.
     17   E-D-W-A-R-D, Bailey, B-A-I-L-E-Y, Sr.                17        Q. In 2019, do you recall -- and you ran as a
     18      Q. Okay. Sheriff Bailey, how old are you?         18     Democrat?
     19      A. 62.                                            19        A. I did.
     20      Q. And you live here in Jefferson County?         20        Q. Do you recall the other candidates in the
     21      A. I do.                                          21     Democratic primary in 2019?
     22      Q. Could you give us your educational             22        A. In 2019, it was Bobby Bailey; me and him
     23   background?                                          23     was in the primary election, which was Democrat, in
     24      A. 12th grade education. Graduated from           24     August. And in November, it was Peter Walker and
     25   Jefferson County High School in 1980.                25     (indiscernible) Grover in November. And Peter


                                                  Page 7                                                       Page 9
      1      Q. And do you have any licenses or                 1     Walker ran as independent, and I think Grover --
      2   certifications?                                       2     both of them ran as independents, Peter and Walter
      3      A. Meaning with law enforcement?                   3     Grover.
      4      Q. With law enforcement.                           4        Q. And when -- in 2019, when Peter Walker --
      5      A. I'm a certified law enforcement officer.        5     he was the sheriff at that time?
      6   I graduated in class of -- base class 169 from        6        A. He had been sheriff for 26 years.
      7   MLEOTA in Pearl, Mississippi.                         7     Correct.
      8      Q. What year was that?                             8        Q. For 26 years?
      9      A. 1995. Base class 169.                           9        A. 26 and a half.
     10      Q. Okay. And could you give us your               10        Q. And you ran for sheriff against Peter
     11   experience in law enforcement?                       11     Walker?
     12      A. Yes. Well, when I first graduated from         12        A. Correct.
     13   high school, I started at the supermarket, and I     13        Q. Now, let me back up. When you say that
     14   worked there for, like, ten years. And I started     14     after Sheriff J.P. Wallace -- he died in office?
     15   with the Jefferson County Sheriff's Department in    15        A. Yes. He was -- he had one stroke, and
     16   1989 up under the administration of Sheriff J.P.     16     then he ended up having another stroke. And matter
     17   Wallace. He was the sheriff then, and I started      17     of fact, he died on his birthday, 53 years of age.
     18   out dispatching.                                     18        Q. Okay. Now -- and then Bud Williams became
     19          Later after Sheriff Wallace ended up          19     the interim sheriff?
     20   passing away, Bud Williams was the acting sheriff.   20        A. He was the interim sheriff, acting
     21   I worked up under him. I hit the streets in '91 up   21     sheriff, and then they had a special election in
     22   under his administration. They had a special at      22     '93. It was Peter Walker and Bud Williams.
     23   the end of '91 in the -- in early '93, they had a    23        Q. Do you recall when it was that Bud
     24   special election with Bud Williams, who was acting   24     Williams became the interim sheriff or when it was
     25   sheriff, and Peter Walker.                           25     that Sheriff Wallace died?



                                                                                        3 (Pages 6 to 9)
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      1      A. Bud had become sheriff sometime in '92,         1        A. Same time.
      2   beginning of '92, somewhere around there maybe.       2        Q. Okay. And you moved up through the ranks?
      3      Q. And when Bud Wallace became sheriff, what       3        A. Through the ranks on both. Both I was
      4   position did you hold in the sheriff's department?    4     sergeant. Then -- I was sergeant here at the
      5      A. I was dispatching during that time. Then        5     Jefferson County Sheriff's Department, and I was
      6   he moved me from dispatcher to being a deputy law     6     sergeant at Alcorn until I resigned from out there.
      7   enforcement officer. It was me, Daniel Davis, and     7            And then maybe around 2017, something like
      8   Malcolm Gill. It was only three deputies.             8     that, I moved up to the chief deputy here,
      9      Q. And the election to fill out Sheriff            9     Jefferson County Sheriff's Department up under
     10   Wallace's term was 1993?                             10     Peter Walker's administration.
     11      A. Correct. That's when they had a special        11        Q. And so, in 2019, did you run as a
     12   election.                                            12     Democrat?
     13      Q. And the Interim Sheriff Williams ran in        13        A. I did.
     14   that election?                                       14        Q. And you said -- was it Bobby Bailey, he
     15      A. He did. Bud Williams.                          15     was a Democrat?
     16      Q. And Peter Walker also ran in that              16        A. Correct.
     17   election?                                            17        Q. And when you ran as a Democrat, you were
     18      A. Correct.                                       18     the chief deputy?
     19      Q. And that was a special election?               19        A. Correct.
     20      A. It was a special election, because --          20        Q. Serving up under Peter Walker?
     21      Q. So it wasn't no party? It was just             21        A. Correct.
     22   everybody ran?                                       22        Q. Did you know that Peter Walker was going
     23      A. It was a special election because Sheriff      23     to run in 2019?
     24   Waller passed away before his term.                  24        A. No, I did not. January 17, one of his
     25      Q. Right, right. But I'm just saying it was       25     units broke down. Had a problem with one of his


                                                 Page 11                                                     Page 13
      1   a special election. It wasn't a primary or            1     units, either the Dodge Charger or the Dodge Ram.
      2   anything?                                             2     And he took it to the Dodge place in Natchez.
      3      A. No, no.                                         3           And we was coming back, at the new
      4      Q. And Peter Walker won that election?             4     McDonald's in Natchez, but we come back north. He
      5      A. Correct.                                        5     looked over at me and say, You need to start
      6      Q. Now, did you support Bud Williams when he       6     getting out there. Start getting out there now.
      7   ran in that election?                                 7     Two and a half years will be here before you know
      8      A. No, I did not.                                  8     it. You need to start hitting the churches.
      9      Q. Did you support Peter Walker?                   9           I said, You not going to run? He said,
     10      A. I did.                                         10     Nope, I'm not going to run. I said, Okay. I took
     11      Q. And Peter Walker won?                          11     his advice.
     12      A. He did.                                        12        Q. And you ran?
     13      Q. You said that in '93, you went to work at      13        A. I ran.
     14   Alcorn PD?                                           14        Q. When did you find out he was going to run
     15      A. Correct.                                       15     as an independent?
     16      Q. Now, was that part-time or full-time?          16        A. When I qualified in January, I stayed
     17      A. I -- full-time.                                17     focused on myself. No one else. I never called
     18      Q. Did you leave the sheriff's department?        18     back down to the circuit clerk's office and asked
     19      A. No. I was still -- I was comfortable           19     them who had qualified. It was mid-February when I
     20   working both of them. I worked at Alcorn like 3:00   20     knowed that Sheriff Walker was running again.
     21   to 11:00 --                                          21           I went to town, and I was talking to a
     22      Q. Okay.                                          22     lady over there, and he called me and asked me was
     23      A. -- and come to Fayette 12:00 to 8:00.          23     I 10-6; that means are you busy. I told him, I
     24      Q. Okay. That's what I'm trying to say. So        24     said, Well, I'm just talking to someone right now.
     25   you were working both jobs at the same time?         25           He said, Well, there's no hurry. Just



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      1   when you get a chance, I need to talk to you. I       1        Q. Now, let me ask you if you have any family
      2   said, Okay.                                           2     members in these counties: Wilkerson, Amite, Pike,
      3         About ten minutes after that conversation       3     Adams, Franklin, Lincoln, Jefferson, and Claiborne?
      4   was done, we got a call about a 10-50, which is an    4        A. Jefferson. A few in Claiborne, but
      5   accident, which was out 28 about five miles, 28 by    5     they're not really -- I really don't know all of
      6   the road called Puffer Road. When I got in the        6     them. To be honest, I really don't know all of
      7   truck, I called him. I said, Hey, Boss Man.           7     them.
      8         He said, Yeah, James.                           8        Q. I'm just going to ask last names. Last
      9         I said, I'm here for this 10-50. You said       9     names.
     10   you wanted to talk to me. You want to -- he said,    10        A. Claiborne, don't ask me their first names,
     11   I'm coming out there. I'm headed that way. Fine.     11     'cause I don't know them. They on my mama's side.
     12   I got on the scene. Direct traffic until the MHP     12     They stay out there around Pattison, and I don't
     13   got there, until the people got loaded up, the       13     know them like that. But I know their last name
     14   injured people got in the ambulance. And it was a    14     Claiborne. And Norrells.
     15   logging road right there. And so, I say, Hey, Boss   15               MR. RHODES: P-A-T-T-I-S-O-N.
     16   Man, let's go -- let's walk up this logging road     16               THE WITNESS: P-A-T-T -- yeah.
     17   over here. And we talked.                            17            S-O-N, correct.
     18         I said -- so we got -- he said, What are       18               THE COURT REPORTER: Thank you.
     19   you shooting at? I said -- asked him, What are you   19     BY MR. RHODES:
     20   shooting at? He say, Don't tell nobody. I'm going    20        Q. And you said Norrells?
     21   to run. I say -- I mean, no. I'm sorry. Back up.     21        A. Norrells.
     22         He said, Don't tell no one that I'm going      22        Q. In Claiborne County?
     23   to drop out. I go, like, Huh? You qualified? He      23        A. In Claiborne County.
     24   said, Yes, but I don't know what I'm going to do     24        Q. And any other Baileys that you're related
     25   yet. I said, Sheriff, I don't mean no harm and no    25     to in Jefferson?


                                                 Page 15                                                      Page 17
      1   disrespect, I said, but ain't but three things I      1         A. No. It's four different sets of Baileys.
      2   got to do. He said, What is that? I say, Stay         2     It's my set, it's Bobby Bailey's set, it's Carl
      3   safe in these streets, keep on taking care of the     3     Bailey, and Tony Ray Bailey's set, and then you had
      4   citizens of Jefferson County, and stay focused on     4     another set that used to stay out here on Walker
      5   my campaign. I got $3,500 out here now. You told      5     Road. Richard Bailey, Frank Bailey, them different
      6   me you wasn't running.                                6     sets.
      7          And I ended the conversation because I         7         Q. Okay.
      8   just knew he wasn't running, and he told me he        8         A. So four different sets here, and I'm not
      9   wasn't running.                                       9     related to the other three.
     10      Q. Okay. Now, I'm going to ask you now            10         Q. All right. Now, when you won -- you ran
     11   back -- go back to 1993 when Peter Walker won that   11     in 2019?
     12   special election. Did he finish -- he finished       12         A. I did.
     13   serving out Sheriff Wallace's term?                  13         Q. And you took office in 2020?
     14      A. He did.                                        14         A. Correct.
     15      Q. And then did he run for reelection?            15         Q. In January 2020?
     16      A. Correct.                                       16         A. January 1, 2020.
     17      Q. And he was reelected every four years up       17         Q. Did you -- did any of the employees of the
     18   until 2019?                                          18     sheriff's department have to reapply?
     19      A. Correct.                                       19         A. I had all of my employees to reapply,
     20      Q. Now, you were working for the sheriff's        20     even -- when I took my sheriff training in December
     21   department all that time?                            21     of '19 to be able to take office in 2020, I had all
     22      A. Oh, yes.                                       22     the correction officers from the facility and from
     23      Q. After every election, did you have to          23     the sheriff's office, and I reviewed them when we
     24   reapply for your position?                           24     was out of class up there.
     25      A. No.                                            25         Q. Okay. And when you were elected and took



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      1    office in January 2020 -- do you know Ms. Carolyn     1           sweat. We're flexible.
      2    Smith?                                                2               MR. RHODES: Okay. Off the record.
      3      A. I do.                                            3                  (OFF THE RECORD.)
      4      Q. She was working for the correctional             4     BY MR. RHODES:
      5    facility, wasn't she?                                 5         Q. Okay. Toward the -- let me see --
      6      A. Correct.                                         6               MR. CARPENTER: You want the page for
      7      Q. Okay. Now, I'm going to ask you about the        7           the Jefferson County?
      8    actual sheriff's department itself. You have          8               MR. RHODES: Yes. It's toward the
      9    deputies within the sheriff's department?             9           end.
     10      A. I do.                                           10               MR. CARPENTER: You got it. I think
     11      Q. How many deputies?                              11           that's it. Bottom of 58?
     12      A. Eight deputies, one investigator.               12               MR. RHODES: Yeah.
     13      Q. Eight deputies and one investigator?            13               MR. CARPENTER: You got it. That's
     14      A. Correct.                                        14           what he's looking for.
     15      Q. Do you have a chief deputy?                     15     BY MR. RHODES:
     16      A. No, I do not.                                   16         Q. The reason I was showing you that, do you
     17      Q. Okay.                                           17     see where --
     18      A. Last one I had was Derrick Stampley.            18         A. Uh-huh. (Affirmative response.) Where --
     19      Q. When was that?                                  19         Q. -- it says Jefferson-Franklin Regional
     20      A. I guess Derrick must have left in, oh,          20     Correctional Facility?
     21    God, '23.                                            21         A. Correct.
     22      Q. Okay.                                           22         Q. And what type of facility does MDOC list
     23      A. End of '22 or '23.                              23     it as? Is it a county?
     24      Q. Do you have a position for chief deputy in      24         A. ACA facility open, ACA accreditation, ACA
     25    the sheriff's department?                            25     (talking to self).


                                                  Page 19                                                     Page 21
      1      A. I do, and I need a chief deputy, but I           1                MR. CARPENTER: I think where you're
      2   just don't have no one that want to -- really want     2            going -- I think he's asking you what type
      3   to step to the plate and take on the                   3            of facility it is.
      4   responsibility.                                        4                THE WITNESS: It's an institution, a
      5      Q. Now, you were working in the sheriff's           5            county regional facility.
      6   department back in -- when the Jefferson-Franklin      6                MR. RHODES: Yes.
      7   Regional Correctional Facility was created?            7     BY MR. RHODES:
      8      A. It was built in 1997.                            8        Q. It's not listed as a private facility?
      9      Q. And that's a satellite prison for the            9        A. No, no.
     10   Mississippi Department of Corrections?                10        Q. Okay. All right.
     11      A. It was a private industry back then. It's       11        A. Okay.
     12   18 facilities in the state of Mississippi, and that   12        Q. It's really a regional facility?
     13   was one of them, and it's like an independent         13        A. Okay. It's a regional jail. Correct.
     14   operation. We house inmates for MDOC, and MDOC pay    14        Q. Okay. All right. And is there a
     15   us or are reimbursing us for housing, however you     15     memorandum of understanding between the Mississippi
     16   want to say it.                                       16     Department of Corrections and the Jefferson County
     17      Q. Okay.                                           17     Board of Supervisors?
     18      A. That's how we make our money.                   18        A. It is a housing agreement that we have for
     19      Q. Okay.                                           19     housing the inmates.
     20             MR. RHODES: I want to let him look          20        Q. Okay. Now, who actually built that
     21         at that.                                        21     facility?
     22             MR. CARPENTER: Certainly. You want          22        A. Now that, I can't answer.
     23         to mark that exhibit?                           23        Q. Okay.
     24             MR. RHODES: No, not --                      24        A. That was up under Sheriff Walker's
     25             MR. CARPENTER: Fair enough. No              25     administration.



                                                                                     6 (Pages 18 to 21)
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      1      Q. Okay. And what is that housing agreement?        1        Q. They pay so much a day --
      2      A. With a housing agreement, when we -- when        2        A. Correct.
      3   I first took office, if I'm not mistaken, we were      3        Q. -- for you-all to house prisoners.
      4   getting like $24.44 an inmate. Okay? That was          4        A. Correct.
      5   from 1 to 200. When it got to 201 --                   5        Q. How do they make those payments and who do
      6      Q. Let me stop you there. You said $24 and?         6     they make those payments to?
      7      A. 44 cents.                                        7        A. Okay. MDOC was sent -- now what they do,
      8      Q. Is that a day?                                   8     they wire the money to the facility budget, which
      9      A. A day.                                           9     goes into a general fund, and the county make our
     10      Q. Okay. All right.                                10     payroll out of that.
     11      A. Okay.                                           11        Q. The general fund, is that the county
     12      Q. Okay. For housing state --                      12     general fund?
     13      A. State inmates.                                  13        A. No. It's the facility's general funds.
     14      Q. -- inmates? 24.40 --                            14        Q. It's not the sheriff's general fund?
     15      A. I think it was 24.44 we was getting, and        15        A. No. 'Cause the sheriff is the county. We
     16   that was from 1 to 200.                               16     have two budgets. I have a budget for the
     17      Q. Okay.                                           17     sheriff's department, and I have a budget for the
     18      A. When it got to 201 to 270, it dropped down      18     facility.
     19   to $20. So 200, we were getting 24.44, and then       19        Q. Who approves the budget for the sheriff's
     20   from -- from 201 to 270, we were getting $20.         20     department?
     21      Q. Okay. A day?                                    21        A. I run it, but -- I -- I do my budget, and
     22      A. A day.                                          22     I bring it to the board.
     23      Q. Now, that's when you first became sheriff       23        Q. Board of supervisors?
     24   in 2020?
                                                                24        A. Board of supervisors.
     25      A. Correct.
                                                                25        Q. Who approves the budget for the regional


                                                 Page 23                                                      Page 25
      1      Q. The employees of the correctional                1     correctional facility?
      2   facility, who hired them?                              2        A. Same thing.
      3      A. The correctional facility hired them.            3        Q. The board of supervisors approved the
      4      Q. The correctional facility?                       4     budget for the regional --
      5      A. Right. They're not a county employee.            5        A. Right. I have to bring them to them
      6      Q. Okay. Who issued them their checks?              6     and -- I have to bring it to them and present it
      7      A. The county does, and the reason for being        7     before the board; this is what it is. When I got
      8   because they wanted me to get my own account           8     my increase in my per diem for the inmates, I had
      9   payable, and I couldn't afford it.                     9     to add that money to it, and I had to put it in
     10      Q. When you say "they," who is they?               10     different departments.
     11      A. Okay. Ms. Buck had mentioned, like, they        11        Q. Okay. And you have a budget that is
     12   wanted me to get my own account payable, and I        12     approved by the board of supervisors for the
     13   couldn't afford it because of the equipment.          13     sheriff's department and for the correctional
     14      Q. Now, when you say Ms. Buck, that's              14     facility?
     15   Ms. Brenda Buck?                                      15        A. They -- they approve mine, but really the
     16      A. Brenda Buck.                                    16     board of supervisors don't have anything to do with
     17      Q. She was the county administrator?               17     that facility. It's accountable now because they
     18      A. Correct.                                        18     paid for it, but I make my money from MDOC.
     19      Q. Okay. So the -- was MDOC paying the             19        Q. Yeah. I'm talking about budgets now.
     20   county prior to Ms. Buck asking you to get your own   20        A. Okay.
     21   accounts payable?                                     21        Q. Isn't it true that the board of
     22      A. What you mean by that? I don't understand       22     supervisors approved budgets?
     23   what you're saying.                                   23        A. They approved -- they approved budgets.
     24      Q. The MDOC.                                       24        Q. Okay. And they approved the budget for
     25      A. Uh-huh. (Affirmative response.)                 25     the regional correctional facility?


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      1      A. Correct.                                         1     BY MR. RHODES:
      2      Q. As well as for the sheriff's department?         2        Q. Would you get a copy of those two that you
      3      A. Correct.                                         3     signed to your lawyer so he could get them to me?
      4      Q. And when you first were elected and took         4        A. Sure, no problem. Now, she is out of town
      5   office in January 2020, the employees at the           5     right now. So she out of town.
      6   regional correctional facility were paid by the        6                MR. CARPENTER: Right. We'll get
      7   county with money that had come from the Department    7            them as soon as we can. You bet you.
      8   of Corrections; is that true?                          8            Yeah. That's no problem. Yeah.
      9      A. Correct.                                         9                MR. RHODES: Okay.
     10      Q. But the actual checks or direct deposits        10     BY MR. RHODES:
     11   came from someone working for the county?             11        Q. Now, the employees for the regional
     12      A. Correct. It come from Mary Thomas. She          12     correctional facility, do they have uniforms?
     13   do it up there.                                       13        A. They do.
     14      Q. Mary Thomas?                                    14        Q. And do they have insignia or any emblems
     15      A. Mary Thomas.                                    15     or anything on their uniform?
     16      Q. What is her title?                              16        A. Well, they haven't had no Class A since
     17      A. What is it? Oh, God. Right on the tip of        17     I've been there. They used to have like 5.11s or
     18   my tongue.                                            18     something like that. Matter of fact, we fixing to
     19      Q. Not payroll clerk?
                                                                19     purchase some more uniforms now.
     20      A. Payroll clerk. There you go. Thank you,
                                                                20        Q. Now, the uniforms for the correctional
     21   sir. Help me out.
                                                                21     facility, are they the same or different from the
                                                                22     uniform for the deputies?
     22      Q. And Ms. Thomas, does she -- is she the
                                                                23        A. Different.
     23   payroll clerk that issues the checks for you, too?
                                                                24        Q. Different. And how are they different
     24      A. Oh, yeah. Yes, sir.
                                                                25     from the deputy's uniform?
     25      Q. For all county employees?


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      1      A. All.                                             1         A. I'll have this stock --
      2      Q. The memorandum of understanding between          2         Q. Now, the only thing, when you say this
      3   MDOC, Mississippi Department of Corrections, and       3     stock, the court reporter --
      4   the county, is a copy of it at the correctional        4         A. Well, I'll have a, what, two, four,
      5   facility?                                              5     six-prong star on it.
      6      A. What you mean? A memorandum of what, now?        6         Q. Okay.
      7   What?                                                  7         A. Okay. They'll have something like -- what
      8      Q. The original agreement between the county        8     would you call it? Like a -- like a -- have an
      9   and the Mississippi Department of Corrections.         9     emblem -- an emblem in the middle and then have a
     10      A. Oh, yeah. That would be -- that would be        10     hanger on each side. I don't know what you would
     11   in the housing agreement.                             11     call it. Something similar to like a Jewish thing.
     12      Q. Is that -- is a copy of it at the --            12         Q. Okay.
     13      A. Sure. I just signed a new contract. Of          13         A. I don't know what you would call it, but
     14   course.                                               14     they patches are different, and they is going to
     15      Q. You just signed a new contract?                 15     have Jefferson Correctional Facility on it, and
     16      A. Yeah.                                           16     I'll have Jefferson County Sheriff's Department.
     17      Q. How often do you sign those new contracts?      17         Q. Okay.
     18      A. I think I've signed two since I've been         18         A. Sheriff's office. Not the department.
     19   there. I think it's every term.                       19     It's office.
     20      Q. And where are those contracts kept?             20         Q. Now, I want to ask you about -- the
     21      A. My deputy warden's office.                      21     plaintiffs in this case asked you, since you've
     22      Q. Who's the deputy warden?                        22     been sheriff, who they work for, the correctional
     23      A. Cassandra Robinson.                             23     facility or the sheriff's department. Carolyn
     24             MR. CARPENTER: On it. No problem.           24     Smith?
     25             MR. RHODES: You know I was.                 25         A. Yes. She worked for the facility.



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      1      Q. Shaquita McComb?                                 1         Q. Would you have captain?
      2      A. Worked for the facility.                         2         A. Well, yeah. Your captain. I'm sorry.
      3      Q. Bonita Blake?                                    3      Yeah, captain.
      4      A. Worked for the facility.                         4         Q. And then lieutenant would be --
      5      Q. Sandra Sanders?                                  5         A. Lieutenant.
      6      A. Worked for the facility.                         6         Q. The captain would supervise the
      7      Q. And James Ellis, Jr.?                            7      lieutenants?
      8      A. Worked for the facility.                         8         A. Supposed to. They had it all switched up
      9              MR. RHODES: I want to have that             9      around there, and I was going to make some changes
     10          marked. Is that going to be 1?                 10      when I got everything situated like I wanted to.
     11              THE COURT REPORTER: Going to be 1.         11      Because Sheriff Walker had his captain in the
     12         (EXHIBIT 1 MARKED FOR THE RECORD.)              12      kitchen.
     13              MR. CARPENTER: And you can -- I            13         Q. But let me ask about the year 2023. The
     14          think we've got a copy, but, yeah.             14      captain supervised the lieutenants?
     15          Organizational chart. Okay.                    15         A. Well, the captain had -- the captain in
     16   BY MR. RHODES:                                        16      the -- he was in the kitchen.
     17      Q. Sheriff Bailey, what I handed you was an        17         Q. Okay.
     18   organizational chart. Does that appear to be the      18         A. He was supervising the kitchen and the
     19   organizational chart for the correctional facility?   19      floor sometimes.
     20      A. Correct.                                        20         Q. Would the major supervise the captain?
     21      Q. Okay. At the head of the correctional           21         A. Yeah.
     22   facility is you as the sheriff; is that correct?      22         Q. I'm trying to think of the chain of
     23      A. Correct.                                        23      command.
     24      Q. And up under you is a warden?                   24         A. Yeah. He's -- the major supervised the
     25      A. Warden.                                         25      captain.


                                                 Page 31                                                      Page 33
      1      Q. Okay. Now didn't you also have a deputy          1         Q. Now, did you have sergeants who were below
      2   warden?                                                2      the lieutenant?
      3      A. Correct. Still does.                             3         A. Correct.
      4      Q. And who is the deputy warden now?                4         Q. And did the lieutenant supervise the
      5      A. Now, Cassandra Robinson.                         5      sergeants?
      6      Q. And has she always been the deputy warden?       6         A. Correct.
      7      A. No. She came in in '24.                          7         Q. And the captain supervised the lieutenant?
      8      Q. '24. Prior to Cassandra Robinson, who was        8         A. Correct.
      9   the deputy warden?                                     9         Q. And the major supervised --
     10      A. Brenda Doss. Brenda Doss.                       10         A. The captain.
     11      Q. When was she deputy warden?                     11         Q. -- the captain? Now, would the deputy
     12      A. Oh, that was under Sheriff Walker's             12      warden supervise?
     13   administration. I can't answer that one, but she      13         A. Deputy warden was under -- was under the
     14   retired.                                              14      warden.
     15      Q. Well, basically under your -- the time          15         Q. The warden?
     16   you've been there.                                    16         A. Right.
     17      A. From 2020 to the end -- I think the last        17         Q. Okay.
     18   day -- her last day I think was the 22nd, 22nd of     18         A. She had say just like the warden had.
     19   December of '23.                                      19         Q. Okay.
     20      Q. Okay. And up under the -- who's the next        20         A. But the warden was still the head.
     21   person down below the deputy warden?                  21         Q. Okay. Your command staff, would that be
     22      A. You have lieutenant -- no, I'm sorry.           22      your warden, a deputy warden?
     23   Major.                                                23         A. Yes.
     24      Q. Major? And below the major?                     24         Q. And who did you have in charge of running
     25      A. Would be lieutenant.                            25      the correctional facility?



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      1      A. Warden Kaho, Clifton Kaho.                      1             I'm going to put them right there for us.
      2      Q. Clifton Kaho. And how long was he the           2                MR. RHODES: Okay.
      3   warden when you were --                               3                MR. CARPENTER: Yeah. I see it.
      4      A. I took off in 2020, but he was the warden       4      BY MR. RHODES:
      5   before --                                             5        Q. Do you recognize Exhibit 3 as part of the
      6      Q. No, no. I'm just -- your term of office.        6      equal opportunity policy for the --
      7      A. 2020 until he left in December or               7        A. I do.
      8   sometime. I don't really know when he left,           8        Q. -- correctional facility?
      9   because he didn't give me a notification what date    9        A. I do. This should be -- the exhibit in
     10   it was, and I was getting ready for my sister's      10      the handbook should be K and L, or something like
     11   funeral when I got the news that he had left.        11      that, in the handbook.
     12      Q. In December 2023?                              12        Q. Okay. And you already testified that you
     13      A. '23. So what day exactly it was, I'd have      13      know Ms. Carolyn Smith.
     14   to look at my sister's obituary to tell you that.    14        A. I do.
     15             THE COURT REPORTER: His name was           15        Q. And do you recall Ms. Carolyn Smith
     16         Cato?                                          16      working at the correctional facility during Sheriff
     17             MR. CARPENTER: K-H-O-E (sic).              17      Peter Walker's term?
     18             THE COURT REPORTER: Thank you.             18        A. I do.
     19             MR. CARPENTER: You're welcome.             19        Q. Did you and her work together?
     20             MR. RHODES: I'll have this marked as       20        A. Not really. I mean, she was an employee,
     21         the next exhibit.                              21      and I was an employee of the sheriff's department.
     22        (EXHIBIT 2 MARKED FOR THE RECORD.)              22        Q. Now, I was about to ask. When Peter --
     23             MR. CARPENTER: That's from your            23      Sheriff Peter Walker was the sheriff, were you --
     24         employee handbook.                             24      did you work on the correctional facility side or
     25                                                        25      the sheriff's side?


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      1   BY MR. RHODES:                                        1        A. Sheriff's side. I was a deputy.
      2      Q. Sheriff Bailey, do you recognize that as        2        Q. You were a deputy?
      3   part of the general policy for the correctional       3        A. Right.
      4   facility on employment?                               4        Q. And Ms. Smith worked on the --
      5      A. Sure.                                           5        A. Correct.
      6      Q. And under number 2 on Political or              6        Q. -- correctional facility side?
      7   Religious Beliefs Activity, was it part of the        7        A. Correct.
      8   policy that there would be no discrimination          8        Q. Did you-all ever interact?
      9   exercised, threatened, or promised in favor of any    9        A. Oh, yeah. They're my coworkers.
     10   applicant or competitor or employee because of his   10        Q. And how did y'all get along?
     11   political opinions or affiliations?                  11        A. Great.
     12      A. Right. That's exhibit -- in the handbook,      12        Q. Okay. While Sheriff Peter Walker was the
     13   it would be Exhibit J. Correct.                      13      sheriff, did you ever supervise Ms. Smith?
     14             MR. CARPENTER: Going to have this          14        A. No.
     15          marked as the next -- that's Exhibit 3?       15        Q. You ran for sheriff in 2019, first time?
     16             MR. CARPENTER: Yeah. Correct.              16        A. Correct.
     17          (EXHIBIT 3 MARKED FOR THE RECORD.)            17        Q. And you had all employees of the
     18   BY MR. RHODES:                                       18      correctional facility to reapply?
     19      Q. Sheriff Bailey, I'm handing you what --        19        A. Correct. And the sheriff's department.
     20             MR. CARPENTER: Yeah. I've got one.         20        Q. And the sheriff's department?
     21             MR. RHODES: Don't have those marked.       21        A. Correct.
     22             MR. CARPENTER: But one of them isn't       22        Q. And do you recall Ms. Smith reapplying?
     23          and one and two is.                           23        A. She did.
     24             MR. RHODES: Yeah.                          24        Q. And was she hired in 2019?
     25             MR. CARPENTER: You got it. Yeah.           25        A. Yes, she was.


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      1      Q. Why did you hire her in 2019?                    1      running for sheriff in 2019?
      2      A. Because I didn't know much about                 2         A. I was kind of shocked when he told me
      3   correctional, and people there had been there for a    3      don't be telling nobody he going to drop out. And
      4   while, and I'm sure that they knew what their job      4      I'm like, You done qualified? Yes, I done
      5   consists of, the job capacity.                         5      qualified, but I don't know what I'm going to do
      6      Q. Did you have any reason not to hire her as       6      yet.
      7   a correction officer in 2019?                          7             'Cause, see, I supposed to of ran four
      8      A. Not during that time, no.                        8      years before that, and he came back to me, said he
      9      Q. Do you know what rank she had?                   9      needed another term. So I pulled out. And after
     10      A. As far as I knew, she was lieutenant at         10      me and him had this conversation -- that was back
     11   the time, I think. She was lieutenant when I came.    11      before '19 now, four years before that.
     12      Q. And did you run for reelection again in         12         Q. Back in 2015 --
     13   2023?                                                 13         A. I was supposed to have ran then.
     14      A. Correct.                                        14         Q. Well, but did you qualify?
     15      Q. And did you run in the Democratic primary?      15         A. No. I didn't qualify, 'cause he came to
     16      A. I did.                                          16      me and said that he needed another term.
     17      Q. And in the primary, how many people were        17         Q. Okay. So in 2015, you and Sheriff Walker
     18   running?                                              18      had the conversation --
     19      A. It was three.                                   19         A. Correct.
     20      Q. Who were the three?                             20         Q. -- about your running?
     21      A. Derrick Stampley, Sean Jones, and myself.       21         A. Right.
     22      Q. And did you know that Mr. Stampley was a        22         Q. Did he tell you back in 2015 he was going
     23   brother of Ms. Smith?                                 23      to retire?
     24      A. Yes. I knew that. Had the same father.          24         A. He did. He even spoke at my family
     25      Q. And did you know that Ms. Smith and Sean        25      reunion. I had a family reunion at my house. He


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      1   Jones had worked together?                             1      told my family that he was -- this is going to be
      2      A. Yeah. Sean -- when the facility first            2      y'all's next sheriff.
      3   opened up, Sean was one of their -- the hires,         3         Q. Okay. And he didn't retire in 2015?
      4   because they loaded up right out here and went to      4         A. And so, I didn't put my name on the hat --
      5   Parchman for their training. The bus picked them       5      in the hat.
      6   up right here in front of the courthouse on the        6         Q. Then in 2019, you-all had the conversation
      7   square.                                                7      again?
      8      Q. Back in?                                         8         A. January 17th, coming out of Natchez, he
      9      A. '97.                                             9      told me, Start getting out there. Don't wait till
     10      Q. '97. So you know Sean Jones had worked at       10      the last minute. Two and a half years will be here
     11   the correctional facility back -- as far back as      11      before you know it, and you need to start hitting
     12   '97?                                                  12      churches and letting people know you're going to
     13      A. '97, and he left there and went to the          13      run. I said, You not running? He said, Nope, I'm
     14   state troopers.                                       14      not running.
     15      Q. Do you recall when it was he became a           15         Q. And how did that make you feel when he
     16   state trooper?                                        16      wouldn't back out in 2019?
     17      A. I do not.                                       17         A. It kind of knocked me off my feet because,
     18      Q. Ms. Smith, do you recall how far back it        18      you know, I've been there for him. I've been his
     19   was she was working at the correctional facility?     19      right-hand man. I had his back the whole time.
     20      A. I think she might have been in '05, '06,        20              And then when -- by him telling me that --
     21   '07, somewhere in that area.                          21      back in January of 2017 that he wasn't going to
     22      Q. Okay. You said when you met with Sheriff        22      run, told me to start getting out there, when in
     23   Walker about him running for sheriff, and he asked    23      January of '19, I can't even qualify. I
     24   you don't tell anybody that he was pulling out, and   24      registered, signed up, and never called to check
     25   you told him that you had, what, spent about $3,500   25      the circuit court's office anymore to see who had


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      1   qualified, because I wanted to stay focused on me.     1            because I didn't think that was quite --
      2   No one else; just me.                                  2            do you want to go ahead, Carroll? I'm
      3      Q. And you didn't like it that he didn't            3            sorry. I just want to make sure you got
      4   support you for sheriff in 2019?                       4            your question answered.
      5      A. No, 'cause he was running.                       5               MR. RHODES: Yeah, yeah.
      6      Q. And do you recall campaigning for sheriff        6      BY MR. RHODES:
      7   at an event in Union Church?                           7          Q. I was asking: Do you recall her asking
      8      A. They had a -- they had a -- they had a --        8      the supervisors a question about what they were
      9             MR. CARPENTER: Just to quantify,             9      going to do about --
     10         what year?                                      10          A. The facility.
     11             MR. RHODES: I'm sorry, I'm sorry.           11          Q. Yeah.
     12         You're right. 2023.                             12          A. Oh, okay. Yeah. She mentioned something
     13             MR. CARPENTER: Got it.                      13      about that, but I don't know what she meant about
     14             THE WITNESS: They had a -- they had         14      it.
     15         a -- they had a meet and greet the              15          Q. Okay.
     16         candidates.                                     16          A. Okay. Yeah.
     17   BY MR. RHODES:                                        17               MR. CARPENTER: Okay.
     18      Q. And do you recall Ms. Carolyn Smith being       18      BY MR. RHODES:
     19   at that meeting to meet the candidates?               19          Q. And you said employees are confused?
     20      A. She was there.                                  20          A. Yeah.
     21      Q. And do you know that she's also an elected      21          Q. Did you consider her being one of those
     22   official in Jefferson County?                         22      confused employees?
     23      A. Sure. She school board. I support her.          23          A. Well, a lot of them -- a lot of them keep
     24      Q. You support her for the school board?           24      saying that they was a county employee. I keep
     25      A. Yeah. She was -- she in my district.            25      saying y'all are not a county employee.


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      1      Q. Okay. And do you recall when it was              1        Q. Was Ms. Smith one of the ones that --
      2   about -- was it June, July when they had that meet     2        A. Yeah. She was one of them. Yeah. She --
      3   and greet in --                                        3        Q. Okay. So you would consider her being
      4      A. I really don't --                                4      confused?
      5      Q. -- Union Church?                                 5        A. Confused.
      6      A. I don't want to tell you nothing concrete.       6        Q. Let me ask about the other plaintiffs. Do
      7   I really don't know, because they had several.         7      you know Shaquita McComb?
      8      Q. And do you recall candidates for sheriff         8        A. I do.
      9   at that meet and greet?                                9        Q. Was she one of those employees that was
     10      A. I know Derrick Stampley was there. Yeah.        10      confused about being a county employee?
     11   And Sean Jones was there.                             11        A. I really didn't talk to 'Quita too much.
     12      Q. Okay.                                           12        Q. What about Bonita Blake?
     13      A. And some of the supervisors were there.         13        A. I really didn't talk to her too much.
     14      Q. And do you recall Carolyn Smith asking          14        Q. Sandra Sanders?
     15   questions to the supervisors about what they were     15        A. I would see Sandra Sanders when I'd go
     16   going to do about the correctional facility?          16      over there. She would come up to me sometimes,
     17      A. She made some -- some type of statement,        17      but. . .
     18   but a lot of my employees was confused because they   18        Q. Do you know if she was confused --
     19   think they county employees, and they not. They       19        A. I don't --
     20   work for the facility. They're not county             20        Q. -- about being a county employee?
     21   employees. The county just cut their checks.          21        A. She never came to me.
     22              MR. CARPENTER: Did you understand          22        Q. And James Ellis, Jr.?
     23          this question?                                 23        A. Never came to me.
     24              THE WITNESS: No.                           24        Q. And you said a lot of the correctional
     25              MR. CARPENTER: Go ahead. I'm sorry         25      facility employees --


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      1       A. Well, some of them, you know, but neither       1      facility?
      2   one of those.                                          2         A. Correct.
      3       Q. Except for --                                   3         Q. And why did you send this letter to all
      4       A. Carolyn.                                        4      your employees?
      5       Q. Except for Carolyn. Okay. How did that          5         A. Because positions might be coming
      6   make you feel when she was asking the question         6      available. Some may be retiring, and it did --
      7   about supervisors, about what they're going to do      7      some did retire, and some may want to apply for a
      8   about the correctional facility?                       8      position that may be available. That's why I said
      9       A. It didn't -- it didn't harm me at all, I        9      all positions is available.
     10   mean, because the supervisors don't have anything     10         Q. But all the employees had to reapply?
     11   to do with the facility. And I was trying to --       11         A. Correct.
     12   and like Mr. King said, they don't have anything to   12         Q. And if people were retiring, only those
     13   do with it because they don't have anything to do     13      positions were vacant; is that true?
     14   with it. It's just accountability now, because        14         A. That's true, but I think we had a
     15   they paid for it, but they don't have any say over    15      lieutenant slot, might have been. Might have been.
     16   it.                                                   16      I don't know. I have to -- I know. . .
     17       Q. Did you -- you and Sean Jones were in the      17         Q. How many employees were retiring?
     18   runoff --                                             18         A. You had Warden Kaho retired; deputy warden
     19       A. Correct.                                       19      retired; jail administrator, Sharon Rankin,
     20       Q. -- in 2023?                                    20      retired; nurse retired; and the captain retired.
     21       A. Correct.                                       21      Five of them retired.
     22       Q. Do you recall when that runoff was?            22         Q. So why would the regular correctional
     23       A. I think it -- I think it was around the        23      officers or Lieutenant Smith have to reapply if
     24   27th or 28th of August.                               24      they were satisfied with the positions they had?
     25       Q. And you won the runoff?                        25         A. Because I'm going to -- I'm going into a


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      1      A. I did.                                           1      new term.
      2      Q. Did you have any opposition in the general       2         Q. So you make all employees reapply?
      3   election?                                              3         A. Uh-huh. (Affirmative response.) Reapply.
      4      A. No. That was it.                                 4         Q. Was that a yes?
      5      Q. Once you won the runoff, you knew you were       5         A. Say it again.
      6   going to be sheriff?                                   6         Q. Was that yes?
      7      A. That's it.                                       7         A. Yes.
      8            MR. RHODES: Just mark it as we go,            8         Q. Okay. Did you have interviews with all
      9         but, yeah, that's no problem. No                 9      the employees?
     10         objection to introduction. Got it.              10         A. I did.
     11         (EXHIBIT 4 MARKED FOR THE RECORD.)              11         Q. In those interviews, were they one-on-one
     12   BY MR. RHODES:                                        12      interviews?
     13      Q. Sheriff, why don't you just take a moment       13         A. Correct.
     14   and look over that letter, because I'm asking you a   14         Q. And where were those interviews held?
     15   few questions about it.                               15         A. In my office.
     16      A. (Witness reviews document.) Okay.               16         Q. At the sheriff's?
     17      Q. Is that your signature on that?                 17         A. Correct.
     18      A. That's it.                                      18         Q. Now, the correctional facility and the
     19      Q. Do you recall sending that letter to all        19      sheriff's office are not in the same building, are
     20   your --                                               20      they?
     21      A. All my employees.                               21         A. No, but the same umbrella.
     22      Q. Again, when you say all employees, you          22         Q. But they're not in the same building?
     23   mean --                                               23         A. No.
     24      A. Sheriff's department and --                     24         Q. And the sheriff's office is in the
     25      Q. Sheriff's department and correctional           25      building where the county jail and the deputies


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      1   are?                                                1         Q. If there were employees in that meeting
      2      A. Correct.                                      2      and they say they heard you ask them to vote for
      3      Q. The correctional facility is in a separate    3      them (sic) and support them (sic), then you're
      4   building?                                           4      saying that those employees would be lying?
      5      A. Correct.                                      5         A. Correct.
      6      Q. Now, the correctional facility employees,     6               MR. CARPENTER: Objection to
      7   did they have to come to the sheriff's office in    7            characterization.
      8   order to be interviewed?                            8      BY MR. RHODES:
      9      A. Correct.                                      9         Q. Then you would say those employees would
     10      Q. You did not go to the correctional           10      be lying?
     11   facility?                                          11         A. That's not true. I didn't make that
     12      A. I did not.                                   12      statement.
     13      Q. And the warden was not involved in           13         Q. How many meetings did you have with
     14   interviewing any of the --                         14      employees of the correctional?
     15      A. No.                                          15         A. Two.
     16      Q. -- correctional facility's --                16         Q. And when were those meetings held?
     17      A. No.                                          17         A. I had one in June of '23 -- no. I'm
     18      Q. -- employees?                                18      sorry. June of 2020. And I had the other one in
     19      A. No.                                          19      June of '23.
     20      Q. And the correctional facility's employees    20         Q. So I'm asking about the meeting in June of
     21   do not wear the title of deputy, do they?          21      2023.
     22      A. They do not.                                 22         A. Okay.
     23      Q. And under state law, the sheriff can hire    23         Q. Did you ask the employees to support you?
     24   and fire all deputies; is that correct?            24         A. I did not.
     25      A. Correct.                                     25         Q. Did you ask the employees to vote for you?


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      1      Q. But correction facility employees are not     1         A. I did not.
      2   deputies?                                           2         Q. Did you tell the employees that you had
      3      A. They're not deputies, but I'm still the       3      their back, and they should have yours?
      4   CEO of it. So I still can do that.                  4         A. I did not.
      5      Q. But they're not deputies?                     5         Q. And if any of the employees who attended
      6      A. They're not deputies.                         6      that meeting in June of 2023 say you said that,
      7      Q. Their uniform doesn't say deputy sheriff?     7      then they would be lying?
      8      A. No.                                           8               MR. CARPENTER: Same objection. You
      9      Q. Do you recall having a meeting during the     9            can answer. This is discovery, but I'm
     10   election with all the correctional facility        10            just noting it for the record.
     11   employees and deputies and telling the employees   11               THE WITNESS: That's not true. I
     12   that you needed them to vote for you and support   12            didn't make that statement.
     13   you?                                               13      BY MR. RHODES:
     14      A. That's not true.                             14         Q. Okay. The employees would be lying?
     15      Q. Why? Tell me what's not true about it.       15         A. Correct.
     16      A. Asking anyone on the site to support me in   16               MR. CARPENTER: Same objection.
     17   my election, not true. That's against the          17      BY MR. RHODES:
     18   handbook.                                          18         Q. Was Clifton Kaho in that meeting?
     19      Q. If there are employees who say they were     19         A. He was. He was there. Major Felton was
     20   in that meeting --                                 20      there. Kenyatta Colenberg was there. Debbie Mims
     21      A. Yeah, but that wasn't what the meeting was   21      was there. Ralph Mims was there. And Terry Ware
     22   about.                                             22      was there.
     23            MR. CARPENTER: He's not finished his      23         Q. Carolyn Smith was there?
     24         question.                                    24         A. Sure, she was there.
     25   BY MR. RHODES:                                     25         Q. Shaquita McComb was there?



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      1      A. Sure. It was a mandatory meeting.                1         Q. In 2023, did you put out notice that you
      2      Q. Bonita Blake was there?                          2      were hiring?
      3      A. I'm going to say yes.                            3         A. No. But I had everybody do a new
      4      Q. Sandra Sanders was there?                        4      application.
      5      A. Yes.                                             5             (EXHIBIT 5 MARKED FOR THE RECORD.)
      6      Q. James Ellis, Jr., was there?                     6      BY MR. RHODES:
      7      A. Yes.                                             7         Q. I'm going to ask you: Do you recognize
      8      Q. How many people were there total?                8      that advertisement?
      9      A. That I don't know, 'cause I think it's,          9         A. I didn't put this out. The warden might
     10   like, 40-something employees I have over there. I     10      have put it out. I didn't put this out.
     11   think right now I have like 40, 44 employees over     11         Q. Okay. How do you -- do you know the
     12   there. Altogether at one time I had, like, 68         12      warden put it out?
     13   employees on both sides.                              13         A. This is my first time seeing this.
     14      Q. Okay. But I meant back in June of 2023.         14         Q. Could the warden put something out without
     15      A. I don't know how many.                          15      your approval?
     16      Q. Why was the meeting a mandatory meeting?        16         A. Sometimes.
     17      A. Because I was so happy that I had got my        17         Q. What could the warden put out without your
     18   per diem up on my inmates from -- from -- it was      18      approval?
     19   $24 and some cents, and they gave me $1.26 raise.     19         A. Well, one time he put out a -- I went over
     20   I didn't get a raise then.                            20      there, and he put -- had a memo out saying no
     21          So back in June, we met with the               21      political literature at the facility.
     22   commission and all and were going back and forth to   22         Q. And which --
     23   the Capitol, and they gave me an increase. So they    23         A. And I --
     24   got me up to 31.12.                                   24         Q. And which -- was that Warden Kaho?
     25          And I was so happy to be able to tell my       25         A. Correct.


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      1   employees because I told my employees that I was       1         Q. When was that?
      2   going to try to get them an increase.                  2         A. That was done in '23, and I wondered what
      3      Q. Now, you said sheriff deputies were there?       3      it was about, why'd he put it up. I never
      4      A. No. Sheriff deputies weren't there.              4      questioned him during the time, but I seen later on
      5      Q. They weren't there at that meeting?              5      that one of my employee's husband comes out in a
      6      A. No.                                              6      pickup sometime with a sign.
      7      Q. Only the correctional?                           7         Q. Now -- and this --
      8      A. Correct.                                         8                 MR. CARPENTER: Off the record for a
      9      Q. Where was the meeting held?                      9             second.
     10      A. In the lobby.                                   10                  (OFF THE RECORD.)
     11      Q. Lobby where?                                    11      BY MR. RHODES:
     12      A. At the sheriff's office -- I mean, not          12         Q. You said in 2023, Warden Kaho put
     13   sheriff. In the correction -- in the facility.        13      something else out?
     14      Q. Let me ask you: Back in 2020, did you put       14         A. Yeah. They -- they put things out
     15   out any sort of notice or anything that you were      15      sometime. He was running it. You know what I
     16   hiring?                                               16      mean? He was -- let me see.
     17      A. At the facility?                                17             He was the warden, so if he sees something
     18      Q. Yes.                                            18      that's going wrong, he had the ability -- well, I'm
     19      A. No.                                             19      going to say his authority to put up or take action
     20      Q. And in 2020, did you require all employees      20      on whatever need to be take action on because he
     21   to reapply?                                           21      was the warden.
     22      A. I did.                                          22         Q. Okay. So if he saw that there were
     23      Q. But you did not put out any notice or           23      political advertisements out at the correctional
     24   anything that you were hiring?                        24      facility, he had the authority to go ahead and put
     25      A. No, I didn't.                                   25      something out on it?


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      1      A. Correct.                                         1         A. That's mine.
      2      Q. And if he thought that there were going to       2         Q. If you turn three pages up, I ask you do
      3   be vacancies for correction officers, sergeants and    3      you recognize that signature?
      4   lieutenants, he had the authority to go ahead and      4               MR. CARPENTER: You mean declaration
      5   advertise for it?                                      5            page?
      6      A. That he -- that, he would probably run by        6               MR. RHODES: No. The declaration is
      7   me. A lot of them who retired on me didn't mention     7            the last page.
      8   anything until later. Like I say, the warden, he       8               MR. CARPENTER: Okay. And so, you're
      9   never told me that he was leaving.                     9            referring to the signature block?
     10      Q. Now, do you recall having a meeting with        10               MR. RHODES: Yes.
     11   Carolyn Smith where you asked Carolyn Smith who was   11               MR. CARPENTER: Okay. So he's
     12   she going to vote for?                                12            referring to this page right here. Well,
     13      A. No, I didn't.                                   13            keep going. There we go.
     14      Q. Do you recall having to meet with Carolyn       14      BY MR. RHODES:
     15   Smith asking her if she was going to vote for you?    15         Q. Let me start back over. The last page,
     16      A. No.                                             16      you recognize that? You said that's your
     17      Q. Do you recall having a meeting with             17      signature, right?
     18   Carolyn Smith telling her that you needed her
                                                                18         A. Correct.
     19   support?
                                                                19         Q. Turn back those three other pages. You
     20      A. No.
                                                                20      see the signature block? Do you recognize your
                                                                21      signature on that page?
     21      Q. Do you recall Carolyn Smith telling you
                                                                22         A. Correct.
     22   that who she voted for was a private matter, and
                                                                23         Q. And so, you signed these answers to
     23   you-all shouldn't be discussing that at the
                                                                24      interrogatories?
     24   correctional facility?
                                                                25         A. (No verbal response.)
     25      A. I never knowed that she were even playing


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      1   a part in political. So I never asked her that.        1         Q. If you turn to the first page, it'll tell
      2      Q. Do you recall seeing Ms. Carolyn Smith and       2      you what they are.
      3   Sean Jones and Sheriff Patten from Adams County at     3         A. (Talking to self.) Yes. This is -- yes.
      4   an event?                                              4         Q. Okay. On the first page, the
      5      A. No.                                              5      Interrogatory 1 asks about anybody that you knew or
      6      Q. And do you recall talking to Ms. Smith           6      believed to have knowledge or discoverable
      7   about her being with Sheriff Jones?                    7      information related to the complaint or answer.
      8      A. Being with who?                                  8      And you listed Carolyn Smith, Sheriff James E.
      9      Q. Sheriff Jones, at that event?                    9      Bailey, Warden Clifton Kaho, and Warden Felton as
     10             MR. CARPENTER: Being with Patten --         10      the people that you knew that had knowledge about
     11             MR. RHODES: Being with Sean Jones.          11      this -- about the lawsuit, in your answer.
     12             MR. CARPENTER: There you go. Yeah.          12                 MR. CARPENTER: Objection. That's
     13   BY MR. RHODES:                                        13             not quite, but it's close enough. You can
     14      Q. Sean Jones?                                     14             answer the question.
     15      A. No. I ain't nobody -- I ain't never said        15                 THE WITNESS: I'm assuming he did
     16   anything about that.                                  16             because he was the warden.
     17      Q. Let me turn you a copy of -- let me get         17      BY MR. RHODES:
     18   that marked.                                          18         Q. Oh, no. What I'm trying to find out: Are
     19             MR. CARPENTER: That'll be 6.                19      these all -- the only people you're saying that
     20         (EXHIBIT 6 MARKED FOR THE RECORD.)              20      have knowledge about it?
     21   BY MR. RHODES:                                        21         A. Oh, no, no. I have more.
     22      Q. Now, I'm going to ask you, if you don't --      22         Q. Okay. That's -- that's what I want to
     23   if you don't mind, if you could turn to the last      23      find -- I don't want to find out at trial.
     24   page, and I ask you if you recognize that             24         A. Right. I have more than the ones I just
     25   signature.                                            25      named.



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      1            MR. CARPENTER: Yeah.                         1         Q. And if you turn over to Interrogatory
      2   BY MR. RHODES:                                        2      Number 7, I'm going to ask you: Did any of -- did
      3      Q. All right. I want to hear those names.          3      either Ms. Carolyn Smith, Shaquita McComb, Bonita
      4      A. Okay. You got Warden Felton, Henry              4      Blake, Sandra Sanders, or James Ellis ever make any
      5   Felton.                                               5      statements to you basically stating that you did
      6      Q. I think Warden Felton might have been --        6      not ask them to support you?
      7            MR. CARPENTER: He's listed.                  7         A. I didn't ask any of my employees to
      8            THE WITNESS: He's listed? You got            8      support me.
      9         Terry Ware.                                     9         Q. Okay. You didn't ask Shaquita McComb?
     10   BY MR. RHODES:                                       10         A. No, I did not.
     11      Q. Tell me what Terry Ware know.                  11         Q. You didn't ask Bonita Blake?
     12      A. He knows that I didn't mention that --         12         A. I did not.
     13   about in the meeting, the mandatory meetings I had   13         Q. You didn't ask Sandra Sanders?
     14   to announce that they were going to be getting an    14         A. Did not.
     15   increase in pay come October 1. That's what that     15         Q. You didn't ask James Ellis, Jr.?
     16   meeting was about.                                   16         A. I did not.
     17         He knows that -- he was there, and he          17         Q. And you didn't ask Carolyn Smith?
     18   knows that I didn't act openly -- to ask any of my   18         A. I did not.
     19   employees at that meeting to support me in my        19         Q. Did you call Bonita Blake about Sean Jones
     20   election, which I did not do. Same thing for         20      supposedly pumping or paying for her gas illegally?
     21   Kenyatta Colenberg. She can attest to that I did     21         A. No. I didn't call her.
     22   not ask that in an open meeting.                     22         Q. Did you talk to her about Sean Jones
     23         Ms. Debbie Mims, she can attest that I did     23      supposedly paying for her gas illegally?
     24   not ask anyone to support me in that meeting. You    24         A. There's a conversation came up dealing
     25   have Ralph Mims. He can attest to that, that I       25      with -- about the letter that the warden had put up


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      1   didn't ask no one to support me in that meeting.      1      about no campaign literature on the grounds or
      2   That meeting was all about the increase in pay.       2      nothing -- anything dealing with that effect.
      3      Q. Now, I'm going to ask you, why you had 30       3            And the conversation came up about that
      4   days after these were served on you to list all       4      he'd be at the Shell station, and he'd pump
      5   those people you just listed that had knowledge,      5      people's gas. And I told her, That's nice. I
      6   you didn't list a one of them in your answers that    6      heard he pumped yours.
      7   you swore an answer to that all this was true and     7         Q. Okay. You said a conversation came up?
      8   correct. Why didn't you do it back then?              8         A. Yeah.
      9      A. Not sure.                                       9         Q. And that conversation came up with
     10             MR. CARPENTER: Off the record.             10      Ms. Blake?
     11              (OFF THE RECORD.)                         11         A. Blake, right.
     12   BY MR. RHODES:                                       12         Q. And when was that conversation?
     13      Q. Anybody else?                                  13         A. I don't know when it was.
     14      A. I've been trying to think some more            14         Q. Where were you-all when that conversation
     15   because they -- they -- they ship out. They --       15      came up?
     16   they in and out. You know, the employees are just    16         A. Uptown somewhere. I can't really recall.
     17   in and out of that facility, but those I know was    17      I know it wasn't on the premises.
     18   there at that meeting.                               18         Q. And you told Ms. Blake that you had heard
     19      Q. But it was a mandatory meeting?                19      that he pumped her gas?
     20      A. Yes. A mandatory meeting to give them the      20         A. Yeah. I told her nice, that was nice of
     21   good word.                                           21      him, because he'd been up at that Shell station up
     22      Q. And it might have been between 60 and 80       22      there pumping gas for a lot of people.
     23   people there?                                        23         Q. Okay. Did you tell her you had heard that
     24      A. However many was hired at the facility         24      he was pumping gas -- he was paying for people's
     25   during that time.                                    25      gas?


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      1      A. No. I don't know if he was paying                1         A. I don't know if they did one on her or
      2   people's gas or not. I didn't see that. I didn't       2      not, but it was an incident that happened, and they
      3   see that. I just heard someone say -- they said        3      did an interview with her, and it should have been
      4   he's up there pumping their gas. I didn't see it       4      something in her file. I wasn't in the interview.
      5   with my own eyes.                                      5      I was not in the interview. Ms. Smith was in that
      6      Q. Who did you hear it from?                        6      interview. Warden Kaho was in the interview.
      7      A. I don't know who I heard it from. People         7         Q. But do you know if there's any written
      8   saying that he'd be at the Shell station pumping       8      warning or reprimand?
      9   people's gas.                                          9         A. No.
     10      Q. When you say "people," that's more than         10         Q. And do you know if there's a written
     11   one person.                                           11      warning of reprimand from you in the personnel file
     12      A. Right.                                          12      of Shaquita McComb?
     13      Q. So --                                           13         A. There was one in the file on her.
     14      A. What I mean by people, he'd be at the           14         Q. From you?
     15   Shell station, and he pumping --                      15         A. Not from me. From the warden there.
     16      Q. Did more than one person tell you that?         16         Q. Now, I want you to turn Interrogatory
     17      A. No. That was just one person told me            17      Number 15. I want you to read that interrogatory
     18   that, but who it was, I don't know.                   18      out loud.
     19      Q. What did Ms. Blake say in response?             19         A. Number 50?
     20      A. Yeah, he pumped my gas. I said -- I said,       20         Q. 15.
     21   that was nice of him. And that was it.                21         A. Oh, 15.
     22      Q. Now, you don't have any written reprimands      22         Q. And read your answer out loud?
     23   or warnings in Ms. Carolyn Smith's personnel file,    23         A. 15. Sheriff Bailey and Warden Clifton
     24   do you, that you've done?                             24      Kaho.
     25      A. No.                                             25         Q. Interrogatory Number 15.


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      1      Q. You don't have any in there that the             1             MR. CARPENTER: He's asking about --
      2   warden has done?                                       2             MR. RHODES: If you'll read that out
      3            MR. CARPENTER: Objection. Which               3          loud.
      4         warden? Because she served for 20 --             4             MR. CARPENTER: -- this question
      5         20 -- over 20 years.                             5          right here. That.
      6   BY MR. RHODES:                                         6             THE WITNESS: "State in specific
      7      Q. During the time you've been -- you've been       7          detail each written warning and reprimand
      8   sheriff.                                               8          given to Carolyn Smith, Shaquita McComb,
      9      A. Okay. No.                                        9          Bonita Blake, Sandra Sanders, and James
     10      Q. Major, captain, or deputy warden, during        10          Ellis concerning their respective jobs at
     11   the time you've been sheriff, you don't have any --   11          the Jefferson-Franklin Correctional
     12      A. No.                                             12          Facility.
     13      Q. -- any written reprimands or warnings?          13             "Include the" -- "Include in your
     14      A. No.                                             14          response the date the warning was given,
     15      Q. You don't have any written reprimands or        15          the person giving the warning, the reason
     16   warnings concerning Mr. James Ellis, Jr., during      16          the warning was given, and witnesses to
     17   the time you've been sheriff?                         17          the warning being given."
     18      A. No.                                             18      BY MR. RHODES:
     19      Q. And you don't have any written reprimands       19       Q. Could you read your answer?
     20   or warnings in the personnel file for Ms. Sandra      20       A. Oh. Reply, give Smith --
     21   Sanders since the time you've been sheriff?           21       Q. No, no. Answer to number 15.
     22      A. No.                                             22             MR. CARPENTER: He's talking about --
     23      Q. You don't have any written reprimands or        23             MR. RHODES: Right up under there.
     24   warnings in the file of Bonita Blake since the time   24             MR. CARPENTER: -- the two lines
     25   you've been sheriff?                                  25          right here.


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      1             THE WITNESS: Right here, right?             1      illegal anyway.
      2             MR. CARPENTER: Uh-huh. (Affirmative         2          Q. And when did he give her that warning?
      3         response.)                                      3          A. He -- I don't know. I'd have to look back
      4             THE WITNESS: "Other than (sic) given        4      in -- I can't keep all them dates like that now,
      5         Smith in 2006, no written warning was           5      but it should be in your file somewhere.
      6         provided."                                      6                MR. CARPENTER: I'll see if I can't
      7   BY MR. RHODES:                                        7             find it for everybody. By the way, I got
      8      Q. So you -- when you signed your Answers to       8             them on paper if you need them.
      9   Interrogatories on March 17th of this year, you       9                MR. RHODES: I need his memory.
     10   stated that other than a reprimand given to Smith    10                MR. CARPENTER: Okay. Fair enough.
     11   in 2006, there was no warnings given to Carolyn      11             All right. Yeah, because I forget --
     12   Smith, Shaquita McComb, Bonita Blake, Sandra         12             yeah. Off the record.
     13   Sanders, or James Ellis, Jr., and that was a month   13                   (OFF THE RECORD.)
     14   ago.                                                 14      BY MR. RHODES:
     15      A. Rephrase that.                                 15          Q. Now, each one of the plaintiffs -- Carolyn
     16      Q. I'm --                                         16      Smith, Shaquita McComb, Bonita Blake, Sandra
     17             MR. CARPENTER: There's not a               17      Sanders, James Ellis, Jr. -- reapplied for their
     18         question there.                                18      positions, didn't they?
     19   BY MR. RHODES:                                       19          A. Correct.
     20      Q. A month ago --                                 20          Q. And you said you conducted interviews with
     21      A. Uh-huh. (Affirmative response.)                21      them?
     22      Q. -- you did not say there was a warning         22          A. I did.
     23   on -- given to Shaquita McComb.                      23          Q. Individual interviews?
     24      A. No.                                            24          A. I did.
     25      Q. In that answer?                                25          Q. What -- when did you conduct those


                                                 Page 71                                                      Page 73
      1      A. No. Yes, yes, yes. Yeah.                        1      interviews?
      2      Q. All right. Read the answer to number 15         2         A. I had everyone to have all their
      3   again.                                                3      applications in by December 1st.
      4      A. "Other than a reprimand given to Smith in       4         Q. Okay. And when did you --
      5   2006, no written warning was provided."               5         A. After that, I started interviewing because
      6      Q. So in March of this year, you said no           6      I had so many to do, plus with my work. That's
      7   written warning was provided to Shaquita McComb.      7      when I started doing it, after the December 1st.
      8      A. The warden had written her up.                  8         Q. And during the interview, did you tell any
      9      Q. But you did not put that in your answer to      9      employees that they'd likely be brought back or not
     10   interrogatories.                                     10      likely to be brought back?
     11      A. No.                                            11         A. Never.
     12      Q. Why not?                                       12         Q. You didn't tell that to any of the
     13      A. Slipped my mind.                               13      employees?
     14      Q. And you happen to remember it now?             14         A. No.
     15      A. Yes.                                           15                MR. RHODES: I'm going to have this
     16      Q. You had 30 days to read over these and         16            marked as the next exhibit number. I got
     17   think about your answers before you answered them,   17            to find out. I'm looking for those
     18   didn't you?                                          18            copies.
     19      A. Yeah, but it slipped my mind.                  19                MR. CARPENTER: What's that? If I've
     20      Q. What warning did the warden give Shaquita      20            got it, I'll share it.
     21   McComb?                                              21                MR. RHODES: Oh, I found it. I found
     22      A. He reprimanded her because she came to         22            it. Okay. Let's see. That's Exhibit 7?
     23   work one day with a knife and a set of brass         23                MR. CARPENTER: Yep, 7.
     24   knuckles in there, on the grounds. You can't do      24            (EXHIBIT 7 MARKED FOR THE RECORD.)
     25   that. That's a facility. And brass knuckles is       25



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      1   BY MR. RHODES:                                         1         Q. Did you not -- so there was no CO working
      2       Q. Sheriff Bailey, I just handed you a letter      2      at the correctional facility that was rehired?
      3   you had sent to Ms. Carolyn Smith.                     3         A. Some of them were rehired; some of them
      4       A. Correct.                                        4      wasn't.
      5       Q. And it looks like it's a form letter, and       5         Q. But now, you say you believed her that
      6   it states that, "I regret to inform you after much     6      inmates were running the wires and --
      7   consideration, your application for re-employment      7         A. She said that.
      8   has been denied."                                      8         Q. But you believed her?
      9       A. Correct.                                        9         A. Yes.
     10       Q. Will you tell us why you denied her            10         Q. And you used that as a grounds to
     11   application for re-employment?                        11      terminate her.
     12       A. Well, after speaking with Ms. Smith -- and     12         A. Yeah. Because if you knew this kind of
     13   she was sitting in the office, we were talking, and   13      activity was going on, what we doing to correct it?
     14   she said, Sheriff, you know, in the back, the         14      And then she also mentioned -- say, like, I'm
     15   inmates be back there running wire from the           15      supposed to issue out the uniforms, and I issue a
     16   microwave, charging, running wire outside the wall    16      uniform, and another officer go behind me and issue
     17   and paint it, and they keep throwing the breaker      17      out a uniform, and that's not the way it's supposed
     18   back there.                                           18      to be.
     19          And by her being a lieutenant, she knew        19             I said, What do y'all do to correct it?
     20   this was happening, why didn't she do anything to
                                                                20      Well, it happens -- sometimes it be happening at
     21   correct it? So I asked the question, Well, how is
                                                                21      night shift, blah, blah, blah. Correct it, because
     22   it getting in? She go like, Sheriff Bailey, it's
                                                                22      that's costing me money. It already costs me money
                                                                23      with the MPIC -- the MAGCOR building over there.
     23   coming in through MAGCOR. And then she admitted we
                                                                24         Q. When you say costing you money, you mean
     24   half patting them down. She can't pat them down.
                                                                25      money out of your pocket?
     25   She is the lieutenant. She could stand there and


                                                  Page 75                                                      Page 77
      1    watch the CO and the sergeant to pat them down and    1         A. Out of my budget ordering more uniforms.
      2    make sure they're doing it right.                     2                THE COURT REPORTER: Are you saying
      3          Because that is what you call protecting a      3            MAGCOR?
      4    county resource. If an inmate get back there and      4                THE WITNESS: Yeah. That was a
      5    get shocked because this wire is running from a       5            recycling place next to us. MAGCOR.
      6    microwave to charge up a cell phone, then that        6                THE COURT REPORTER: Okay. Thank
      7    could be a lawsuit.                                   7            you.
      8       Q. Now, when she interviewed, she was a            8      BY MR. RHODES:
      9    lieutenant.                                           9         Q. Now, I'm going to get back, though, to
     10       A. Correct.                                       10      this earlier one about running the wires. Did you
     11       Q. And lieutenants don't pat down inmates?        11      not rehire -- or did you rehire any sergeants?
     12       A. Lieutenant do. She is a female.                12         A. Yes.
     13       Q. Up under lieutenants are sergeants.            13         Q. And sergeants are up under lieutenants?
     14       A. You got sergeants.                             14         A. Correct.
     15       Q. And up under the sergeants are officers?       15         Q. And you did rehire some correctional
     16       A. COs, correct.                                  16      officers?
     17       Q. COs.                                           17         A. I did.
     18       A. Correct.                                       18         Q. How many correctional officers did you
     19       Q. And did you terminate all the COs who were     19      rehire?
     20    working at the correctional facility after you say   20         A. I can't tell you off the top of my head.
     21    Ms. Smith told you that?                             21         Q. How many correctional officers did you not
     22       A. But I haven't --                               22      rehire?
     23       Q. Did you terminate all the COs?                 23         A. Five.
     24       A. I didn't terminate them. They just             24         Q. How many correctional officers did you
     25    weren't rehired.                                     25      have in December 2023?



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      1      A. You talking about what the sergeants and         1         Q. Who supervised the correction officers?
      2   all, or just --                                        2         A. The warden -- I mean, the warden -- the
      3      Q. Correctional officers.                           3      warden and anyone in the chain of command can
      4              MR. CARPENTER: COs.                         4      supervise the CO.
      5              THE WITNESS: I really don't know off        5         Q. Okay. Isn't the CO's immediate supervisor
      6          the top of my head. Like I say, I might         6      a sergeant?
      7          have 50 today, and tomorrow I might have        7         A. Sergeant, right. That's the one that's on
      8          46.                                             8      the shift.
      9   BY MR. RHODES:                                         9         Q. And the sergeant's immediate supervisor is
     10      Q. If you look at their organizational chart,      10      the lieutenant?
     11   can you tell me -- on the organization chart, could   11         A. Correct.
     12   you tell how many -- I know we have slots for         12         Q. And isn't it true that Ms. Shaquita McComb
     13   officer -- correctional officers, but could you       13      was a correctional officer?
     14   tell me for each shift, could you tell how many you   14         A. Correct.
     15   had in each shift?                                    15         Q. And Ms. Carolyn Smith was a lieutenant?
     16      A. It's either seven or eight supposed to be       16         A. Correct.
     17   on a shift that I know of.                            17         Q. Ms. Carolyn Smith was not Shaquita
     18      Q. And how many shifts did you have?               18      McComb's immediate supervisor; is that correct?
     19      A. Two shifts. Night, morning --                   19         A. Correct.
     20      Q. Seven or eight, let's say for seven, and        20         Q. And the sergeant would have been
     21   two shifts, that's 14 officers.                       21      Ms. Shaquita McComb's immediate supervisor; isn't
     22      A. Right. You got some that work from 6:00         22      that correct?
     23   to 6:00 in the morning, 6:00 in the morning to 6:00
                                                                23         A. Sure.
     24   that evening, then 6:00 p.m. to 6:00 a.m.
                                                                24         Q. And you did not have Ms. Shaquita McComb's
     25      Q. And so, out of 14, you said five of them
                                                                25      immediate supervisor, who was that sergeant, in

                                                 Page 79                                                       Page 81
      1   you did not rehire?                                    1      that meeting when you had Ms. Smith in the meeting,
      2     A. Well, if you're not counting her as a             2      did you?
      3   correction officer --                                  3         A. Because that's her niece.
      4     Q. Only COs.                                         4         Q. You need to --
      5     A. So you got Blake, Sandra Sanders, McComb,         5         A. No.
      6   and Ellis. Four.                                       6         Q. -- answer yes or no.
      7     Q. There's only four you didn't?                     7         A. No.
      8     A. Correct.                                          8         Q. No. You said no, and you said because
      9     Q. All the other COs you rehired?                    9      that's her niece?
     10     A. Correct.                                         10         A. No. I said I didn't have a sergeant there
     11     Q. And you thought that -- you believed             11      during the time I had the meeting.
     12   Ms. Smith that inmates were running wires?            12         Q. Why didn't you have Ms. Shaquita McComb's
     13     A. That's what she said. I didn't see it.           13      sergeant in the meeting with Ms. Shaquita McComb
     14     Q. But you said that's one -- that's one of         14      instead of having Ms. Smith in the meeting?
     15   the grounds you fired -- you did not rehire her.      15         A. Because it was her niece, and I wanted her
     16     A. That, and then when I questioned her about       16      to be there when I talked to her niece. I could
     17   her niece. I met with her niece one time. Some        17      have had the sergeant, but by her being the
     18   contraband was trying to get in the facility.         18      lieutenant and her niece, I brought her in.
     19     Q. Okay. Who's her niece?                           19         Q. Okay. Any other reason you did not rehire
     20     A. McComb.                                          20      Ms. Carolyn Smith?
     21     Q. And what position did Shaquita McComb            21         A. Ms. Carolyn is a lieutenant and a
     22   have?                                                 22      lieutenant is supposed to be on the floor all the
     23     A. She was a CO.                                    23      time, walking that floor, making sure things are
     24     Q. Correction officer?                              24      all right. Most of the time she'd be in the
     25     A. Correct.                                         25      warden's office. Okay? Couple of times that



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      1   Ms. Smith had left that ground and didn't punch       1               THE WITNESS: What y'all call them,
      2   out.                                                  2            Carolyn?
      3      Q. Let me ask you this: Where is your              3               MR. CARPENTER: She can't answer any
      4   office?                                               4            questions.
      5      A. My office is over in the sheriff's              5               MR. RHODES: She can't answer
      6   building.                                             6            questions.
      7      Q. Your office is not in the correctional          7               THE WITNESS: It -- it -- it keep up
      8   facility, is it?                                      8            with all the details that goes on.
      9      A. No.                                             9            Everything. Everything that goes on at
     10      Q. So you wasn't there to see what all those      10            the facility. When they go on yard call,
     11   employees were doing in the correctional facility,   11            they'll do that. When they -- when they
     12   were you?                                            12            do count of the facility, all that goes in
     13      A. I walk my facility every day.                  13            there.
     14      Q. How often do you walk and how long?            14      BY MR. RHODES:
     15      A. I be there for a minute, for a while.          15         Q. Does everybody sign?
     16      Q. What about the sheriff's department? Do        16         A. Anybody that -- if you go in that facility
     17   you walk that facility?                              17      and you walk in with me, we both have to sign the
     18      A. Oh, yeah.                                      18      book.
     19      Q. You can't be in two places at the same         19         Q. Okay. Now, for the books that were in
     20   time.                                                20      20 -- from 2020 to 2023, where would those books
     21      A. I understand that, but I walk the facility     21      be?
     22   every day.                                           22         A. I don't know. They keep them somewhere.
     23      Q. Do you have a log showing how often you        23      I don't know where they keep them at.
     24   walk, a written log?                                 24         Q. Who keep them?
     25      A. When I goes in the facility, they signs        25         A. I guess the warden or deputy warden.


                                                Page 83                                                     Page 85
      1   in. They'll sign in.                                  1        Q. 'Cause you don't know where they get them?
      2      Q. Do you have a sign-in log?                      2        A. That's why they're in there for.
      3      A. No.                                             3        Q. I thought you the head.
      4      Q. Do you sign in every time you go in?            4        A. The head?
      5      A. No, I do not.                                   5               MR. CARPENTER: Objection;
      6      Q. So you don't have any proof that -- of the      6            argumentative. Go ahead.
      7   times you walked the facility, the correctional       7               THE WITNESS: I'm the head, but you
      8   facility?                                             8            have -- I have people in place. That's
      9             MR. CARPENTER: Objection.                   9            what the warden and the majors and all
     10             THE WITNESS: (No verbal response.)         10            them is for.
     11   BY MR. RHODES:                                       11      BY MR. RHODES:
     12      Q. Do you? You don't have any documented          12        Q. So if we needed to subpoena the books from
     13   written proof showing the times -- the dates and     13      2020 through 2024, who we need to issue that
     14   times you walked the correctional facility?          14      subpoena to?
     15      A. When I goes in the facility --                 15        A. I guess you'd have to go to the deputy
     16      Q. You can answer yes or no.                      16      warden, I guess. I don't know what it -- when
     17      A. Yes.                                           17      the -- when the book's filled out, that's a
     18      Q. If you have any written documentary proof      18      question I have to ask.
     19   of the dates and times that you walk the             19        Q. Okay.
     20   correctional facility.                               20        A. Because --
     21      A. It should be. I sign the books when I go       21        Q. Who's the warden now?
     22   in, in the back.                                     22        A. Henry Felton.
     23      Q. Okay. What are those books called so we        23        Q. And who is the deputy warden now?
     24   can subpoena those books?                            24        A. Cassandra Robinson.
     25      A. I let them -- it's a --                        25        Q. Okay. There's nothing in Ms. Carolyn


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      1   Smith's personnel file that she did not do her job     1      got an inmate on top of the rack, keep pointing at
      2   while you were the sheriff, is there?                  2      somebody on the outside saying -- like somebody
      3     A. In her file?                                      3      telling him to throw something somewhere. That
      4     Q. Written. Any --                                   4      didn't happen.
      5     A. While I was sheriff or the whole time she         5         Q. Now, how do you know that happened?
      6   was there?                                             6         A. I got a recording.
      7     Q. While you were sheriff.                           7         Q. You said I saw a recording, which I have
      8     A. No.                                               8      not been given a copy of that recording.
      9     Q. So all this stuff you're telling me about         9                MR. CARPENTER: That's the same as
     10   now, there's no written documentation in her          10            the rest.
     11   personnel file to back it up?                         11      BY MR. RHODES:
     12     A. No.                                              12         Q. And we need to copy that recording because
     13            MR. RHODES: Okay. Would that be 8?           13      I want to ask you about the time. Does it have the
     14            MR. CARPENTER: It would be.                  14      date and time stamped on that recording?
     15            MR. RHODES: Yes. See, I told you.            15         A. I don't know. I got it -- they have it.
     16         Told you don't be too mad.                      16      I don't know if it was on there or not, but she was
     17         (EXHIBIT 8 MARKED FOR THE RECORD.)              17      at work that day.
     18   BY MR. RHODES:                                        18         Q. Isn't it true that Ms. McComb had gotten
     19     Q. I want to ask you about Ms. Shaquita             19      off at the time that showed when the bag was
     20   McComb, where you stated that you regret to inform    20      supposed to have been thrown over and the inmate
     21   her that you weren't going to rehire her and could    21      was running?
     22   you -- did you -- you didn't put the reasons in       22         A. It was during the time that the shift
     23   Exhibit 8 why you were not rehiring her, did you?     23      would change. At Control 3, they always would be
     24     A. No.                                              24      slow about getting over there.
     25     Q. And in Exhibit 7, you did not put the            25         Q. Isn't it true that Ms. McComb was not on


                                                 Page 87                                                       Page 89
      1   reasons in there why you were not rehiring             1      duty when that actually happened?
      2   Ms. Smith, did you?                                    2        A. She was on duty.
      3      A. No.                                              3        Q. And she was not written up for that, was
      4      Q. Okay. So give me the reasons you did not         4      she?
      5   rehire Ms. McComb.                                     5        A. No. She wasn't written up, because I
      6      A. Ms. McComb, for one, she came to work with       6      brought the lieutenant over in the office and had
      7   a set of brass knuckles and a knife. That is a         7      the conversation with them.
      8   no-no on the grounds. And she was reprimanded for      8        Q. And isn't it true that they proved to you
      9   that. The other one was the contraband.                9      that she was not on duty and that's the reason you
     10      Q. Tell me about the contraband.                   10      did not write her up?
     11      A. It was some contraband, which was trying        11        A. No, that's not.
     12   to get in the facility. Big black garbage bags got    12        Q. Isn't it true that it was someone else's
     13   hung over the fence. They're trying to get throwed    13      shift --
     14   in the facility, and the only way that it could get   14        A. No.
     15   in there is that you had to open that side door to    15        Q. -- that that would happen on?
     16   get it in.                                            16        A. No.
     17          And by her being the tower operator of         17        Q. Isn't it true that Ms. McComb was really
     18   Control 3, the way that that young man would run up   18      off that day?
     19   to the back door and run it back outside the wall,    19        A. No. She worked that day.
     20   get on top of the top bunk, pointing like this, get   20        Q. And I understand that the -- we had asked
     21   back down, and run back down there again, and they    21      for all documents they had, especially any proof
     22   kept back and forward.                                22      that you're saying that they -- the plaintiffs --
     23          By her being the tower operator, she           23        A. That's why --
     24   should have noticed that and called and said, Hey,    24        Q. -- but we weren't given that -- that
     25   someone need to go outside, do a running check. I     25      recording, but I understand the recording has the


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      1   date and timestamp on it.                              1      the warden that.
      2            MR. CARPENTER: Okay. In response --           2         Q. Oh, well, I thought you said you had the
      3         because you're looking at me on that             3      authority to hire and fire.
      4         one -- I'm not sure if it has the time. I        4         A. I had her rehired. She came to me and
      5         do know there were photographs that were         5      wanted her job back, because the previous sheriff
      6         submitted that were a part of the video,         6      had fired her. I rehired her. Had Kaho and them
      7         but we'll go look for the video.                 7      to rehire her.
      8            But I do know that the photographs            8         Q. Now, when you say "her," I'm talking
      9         from that are present, and they're just          9      about --
     10         defendants' 264 to 276.                         10         A. Nikita (sic) Blake.
     11            MR. RHODES: I know.                          11         Q. Bonita Blake?
     12            MR. CARPENTER: But I will check for          12         A. Bonita Blake, Bonita Blake.
     13         you.                                            13         Q. I thought you were talking about
     14            MR. RHODES: And the reason being, we         14      Ms. Johnson.
     15         have -- we have --                              15                MR. CARPENTER: He's talking about
     16            MR. CARPENTER: I know what you're            16            Antoinette Johnson.
     17         looking for.                                    17      BY MR. RHODES:
     18            MR. RHODES: -- we have proof on she          18         Q. Antoinette Johnson?
     19         was not at work at that time.                   19         A. Okay. Now, see what happened now?
     20            MR. CARPENTER: That was a                    20         Q. Yeah.
     21         contention. Sure. Okay. Yeah. We'll             21         A. Okay, okay.
     22         track it down for you.                          22         Q. All right. I want to back up. You said
     23   BY MR. RHODES:                                        23      she was fired?
     24     Q. Any other reason you did not rehire her?         24         A. Yeah. They -- they -- they dismissed her.
     25            MR. CARPENTER: Shaquita McComb?              25         Q. When you say "they" --


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      1             MR. RHODES: Shaquita McComb.                 1         A. Warden Kaho and the interview board.
      2             MR. CARPENTER: There you go. Okay.           2         Q. Okay. I thought you were the person who
      3         All right.                                       3      had the authority to hire and fire the people in
      4             THE WITNESS: Not that I can think            4      the correctional facility.
      5         of.                                              5         A. They can do it. If they doing something
      6               (OFF THE RECORD.)                          6      wrong, they can get rid of them.
      7         (EXHIBIT 9 MARKED FOR THE RECORD.)               7         Q. So you're not the only person that has --
      8   BY MR. RHODES:                                         8         A. Right.
      9      Q. You know where I'm going. Give me every          9         Q. -- the authority to hire and fire?
     10   reason -- Exhibit 9 -- every reason you did not       10         A. Right. The warden, he had that.
     11   rehire Bonita Blake.                                  11         Q. Have you delegated that authority --
     12      A. One reason is that we had one female that       12         A. Yes.
     13   had been hired, and Bonita was the trainer to         13         Q. -- to the warden?
     14   showing this young lady what to do. Two of them       14         A. Yes.
     15   was involved. They had an inmate to pull out his      15         Q. Okay. So you had that authority, but you
     16   privates, because Bonita said, I heard you were       16      delegated it to the warden?
     17   working with something. Let me see what you're        17         A. Right, correct.
     18   working with, and he pulled the privates out.         18         Q. And you said a correctional board?
     19         And they did an interview with both of          19         A. They had an interview board. They went in
     20   them and only one that was terminated, and that was   20      and interviewed. They did an investigation on
     21   Angenette (sic) Johnson was the one that was          21      this.
     22   terminated, and Bonita wasn't.                        22         Q. I'm going to ask about the interview. Who
     23      Q. Why was Angenette (sic) Johnson                 23      set that interview board up?
     24   terminated?                                           24         A. The warden -- he's the warden, and they --
     25      A. You'd have to ask the lieutenant that and       25      they -- they did an investigation on it.


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      1      Q. Did you approve of that?                        1        A. Slack on -- slack on the warden's behalf.
      2      A. I didn't have to approve of that because        2        Q. And who -- which warden?
      3   he was running it. That was an incident that          3        A. Warden Kaho, and the deputy warden.
      4   happened with an inmate having -- having an inmate    4        Q. Did you terminate either one of them?
      5   to pull out his privates. So the warden and them      5        A. No. The warden left. Didn't let me know.
      6   did an interview on it.                               6     And the deputy warden retired.
      7      Q. But -- but I'm asking you about hiring and      7        Q. When did this incident happen involving
      8   firing employees. You said you the one who had        8     Ms. Johnson and Bonita Blake?
      9   that authority to hire and fire employees at the      9        A. You have to look in -- we have to look in
     10   correctional facility.                               10     Ms. Johnson's file to find that out, the exact
     11      A. I do.                                          11     date, because I think it might be something in her
     12      Q. And now you're saying the warden had the       12     file, 'cause she was terminated. Should be. They
     13   authority, but I asked did you delegate the warden   13     terminated her.
     14   that authority?                                      14        Q. Well, that incident with Ms. Johnson
     15      A. Yeah, yeah. They can do that.                  15     happened several months before Warden Kaho retired.
     16      Q. But if the warden terminates somebody, do      16        A. Yes. He was the warden during that time.
     17   you review that since you his supervisor?            17        Q. But you did not terminate Warden Kaho?
     18      A. Sometimes I do, and sometimes I don't.         18        A. No.
     19      Q. So this Ms. Johnson that was terminated, I     19        Q. And I was trying to figure out what was
     20   was going to ask you why -- the reason she was       20     the distinction. Why was Ms. Johnson terminated
     21   terminated.                                          21     and Ms. Blake not terminated?
     22      A. I don't know why they didn't terminate         22        A. I wasn't in the interview. I didn't do no
     23   both of them.
                                                               23     investigation on it. My warden, and I assume my
     24      Q. But I want to know the reason they
                                                               24     deputy warden and the lieutenant, did an
     25   terminated Ms. Johnson.
                                                               25     investigation on it. They had a hearing with both


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      1      A. Because they had the inmate to pull out         1      of them in Warden Kaho office. So they the one
      2   his privates.                                         2      made the determination. Not me.
      3      Q. And you said "they."                            3         Q. And you indicated there is a written
      4      A. Anita Blake -- Bonita Blake and                 4      reason in Ms. Johnson's file as to why she was
      5   Ms. Antoinette Johnson.                               5      terminated.
      6      Q. Do you know if Ms. Johnson said something       6         A. It should be. They terminated her.
      7   that Ms. Blake didn't? Why the difference in the      7         Q. Now, when you say it should be, do you
      8   distinction of why Ms. Johnson was terminated, but    8      know if there's anything in there?
      9   Ms. Blake was not terminated?                         9         A. I do not know.
     10      A. You'd have to ask the lieutenant that, and     10               MR. CARPENTER: You want that?
     11   you have to ask the warden that, and whoever sits    11               MR. RHODES: Yes.
     12   on that board.                                       12               MR. CARPENTER: Making notes. The
     13      Q. There is nothing in Ms. Bonita Blake's         13            Johnson file. Okay.
     14   personnel file about this incident, is there?        14      BY MR. RHODES:
     15   Written?                                             15         Q. Any other reason you did not rehire Bonita
     16      A. It should have been if they did an             16      Blake?
     17   interview.                                           17         A. Because Bonita talked to the inmates so
     18      Q. If you look back at your answers to            18      rough. The inmates would come up to me and say,
     19   Interrogatory Number 15 --                           19      Sheriff Bailey, you need to talk to Ms. Blake. She
     20      A. I'm going to say no.                           20      come back here and call us, Get your punk ass
     21      Q. -- there are no written warnings or            21      upside the wall. You short dick, MF, and all of
     22   reprimands on Ms. Bonita Blake.                      22      that.
     23      A. I'm going to say no.                           23            And that's not the way you talk to an
     24      Q. So why wasn't there anything written in        24      inmate. And them inmates was talking about hurting
     25   Ms. Bonita Blake's file?                             25      her.



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      1      Q. And you don't -- you didn't put anything         1      she have a pacemaker, something dealing with the
      2   in writing in her file about giving her a warning      2      heart, and she passes out.
      3   or a reprimand about how she talked to the inmates?    3             And if she in that facility back there and
      4      A. The warden knew about it.                        4      passes out and hit her head on that -- on that door
      5      Q. But you didn't do it?                            5      back there, steel door, or that concrete, and
      6      A. I did not. No.                                   6      something's going on in the facility, how would we
      7      Q. Now, who is over all the employees of the        7      know if she can't get on the -- on the radio and
      8   correctional facility?                                 8      call a code red for a fight, a code blue for
      9      A. Who over it?                                     9      someone sick, or C51 for a fire if she's passed
     10      Q. Yeah. Who's over it?                            10      out?
     11      A. The warden.                                     11             That's protecting county resources. Her
     12      Q. Oh --                                           12      health is not well enough. She couldn't even get
     13      A. He's the --                                     13      between a fight and break it up. If they hit her
     14      Q. -- I thought you were.                          14      in the chest, she might pass out. When she get
     15      A. I am, but the warden runs it for me.            15      upset, she passes out.
     16      Q. Yeah, but I thought you said you make           16         Q. So you didn't rehire Ms. Sandra Sanders
     17   these rounds all the time.                            17      because of health issues?
     18      A. I make my rounds. I goes up to the front        18         A. Yeah, health issues, right. Reliability
     19   every day. I walk through the PIC place. I even       19      and protecting -- taking care of the resources.
     20   walk around the facility every day on the grounds.    20         Q. Last one.
     21   I does that.                                          21                MR. CARPENTER: Let me guess.
     22      Q. But you didn't enter anything in
                                                                22                MR. RHODES: Yeah.
     23   Ms. Blake's personnel file?
                                                                23            (EXHIBIT 11 MARKED FOR THE RECORD.)
     24      A. No. Let me get --
                                                                24      BY MR. RHODES:
     25      Q. And that's 10 -- you said do something.
                                                                25         Q. Okay. Sheriff, I want to ask you the same

                                                  Page 99                                                     Page 101
      1      A. Yeah.                                            1      question about James Ellis, Jr., every reason you
      2         (EXHIBIT 10 MARKED FOR THE RECORD.)              2      did not rehire him.
      3   BY MR. RHODES:                                         3         A. Same way, kind of echoing about Sandra
      4      Q. Sheriff, I'm going -- same question. I           4      Sanders. He have a history of passing out. Not --
      5   need you to tell me every reason you did not rehire    5      not on the job, but at his house, he had passed out
      6   Sandra Sanders.                                        6      several times. Like, he have a heart problem. And
      7      A. Sandra Sanders have a history of passing         7      I suspicious of him bringing contraband into the
      8   out. One time she went off to transport inmates to     8      facility.
      9   the -- to a health facility, and she ended up          9         Q. Now, you say you were suspicious?
     10   having to get a heart test herself. Something         10         A. Yes.
     11   dealing with her heart.                               11         Q. Did you ever meet with him and talk to him
     12          And then another occasion, something           12      about it?
     13   happened in the jail, and she was able to call for    13         A. I wanted to catch him.
     14   some assistance. Then when they get over there,       14         Q. And you don't have -- you didn't document
     15   she done passed out. So they had to call the          15      anything in his personnel file?
     16   ambulance out there for her.                          16         A. No.
     17          And that particular time, they took her to     17         Q. Did you ever catch him bringing
     18   the hospital. They took her to Jefferson County       18      contraband?
     19   out here. And then another time, it happened maybe    19         A. No.
     20   a month or two months after that happened, I had to   20         Q. Do you have contraband coming in now?
     21   call the ambulance out again.                         21         A. It's slow. They did a shakedown last
     22          And she got in the ambulance, but then I'm     22      week, and they found one phone.
     23   thinking she going to the hospital. I leave; she      23         Q. But Mr. Ellis is not working out there?
     24   didn't go. She went on back to work. So Sandra        24         A. No.
     25   had a -- had a -- I don't know. I don't know if       25         Q. Now, have you given me every reason that


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      1   you did not rehire any of the plaintiffs, Carolyn     1      are running. Don't go say nothing to that woman.
      2   Smith, Shaquita McComb, Bonita Blake, Sandra          2            A couple days later, he came back, said, I
      3   Sanders, and James Ellis, Jr.?                        3      said something to her. I never even asked him what
      4      A. That's it.                                      4      did she say. He said, I said something to her.
      5      Q. Did you ever talk to any of them, Carolyn       5      She say, You can put a sign in her yard. I say,
      6   Smith, Shaquita McComb, Bonita Blake, Sandra          6      Henry, I told you do not go say anything to that
      7   Sanders, or James Ellis, Jr., about supporting you    7      woman about that sign. Again, sign do not vote.
      8   for reelection for sheriff?                           8      Sign let people run. That's what I told him.
      9             MR. CARPENTER: Objection.                   9         Q. What is Henry's last name?
     10             THE WITNESS: Again, I never asked          10         A. Sandra Sanders.
     11         any of my employees to support me.             11                MR. CARPENTER: No. Henry's last
     12   BY MR. RHODES:                                       12            name.
     13      Q. So that would be, no --                        13                THE WITNESS: Oh, Henry. Henry
     14      A. No.                                            14            Felton.
     15      Q. -- you didn't ask them again?                  15      BY MR. RHODES:
     16      A. No.                                            16         Q. And do you know his address?
     17      Q. And did you ask any employees in the           17         A. No, but we can get it. That won't be no
     18   mandatory meeting you had in June of 2023 to         18      problem to get it.
     19   support you?                                         19                MR. CARPENTER: I think we may --
     20      A. No.                                            20      BY MR. RHODES:
     21      Q. Do you recall seeing any of the Carolyn        21         Q. What is his position?
     22   Smith, Shaquita McComb, Bonita Blake, Sandra         22         A. He warden now, but back then, he was a
     23   Sanders, or James Ellis, Jr., at any political       23      major.
     24   events where other candidates for sheriff were       24         Q. Was there someone else in that --
     25   there?                                               25         A. Anthony Green.


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      1      A. The only one I can really recall was            1         Q. Anthony Green was a deputy?
      2   Carolyn. That was the one in Union Church at the      2         A. He was a deputy. He the one mentioned it
      3   fire station. I had one in my house. So that's        3      about the sign, because I had never seen it.
      4   the only one I seen her at.                           4         Q. Now, is he a deputy sheriff?
      5      Q. Do you recall ever seeing any of -- any         5         A. He a deputy sheriff. He's still employed
      6   campaign signs for any other candidate for sheriff    6      now.
      7   in the yards of either Carolyn Smith, Shaquita        7         Q. Okay. Do you know his address?
      8   McComb, Bonita Blake, Sandra Sanders, or James        8         A. No. But it's in Stampley. It won't be
      9   Ellis, Jr.?                                           9      hard to get.
     10      A. I didn't see one, but my deputy seen one       10         Q. In Stampley?
     11   in Sandra Sanders's yard.                            11         A. In Stampley. The same way where Warden
     12      Q. Which candidate sign did he see?               12      Felton is from, same community.
     13      A. Sean Jones.                                    13               MR. CARPENTER: We'll get it.
     14      Q. Your deputy told you about it?                 14               MR. RHODES: Okay.
     15      A. He did. We was over by the shop, and           15      BY MR. RHODES:
     16   he -- I was over there, and Henry Felton, who is     16         Q. James Ellis, Jr., do you ever recall
     17   the warden now but he was a major, and Green go,     17      seeing him -- his car, his personal vehicle at Sean
     18   like, and I seen a sign in Sandra Sanders's yard,    18      Jones's house?
     19   Sean Jones sign in her yard.                         19         A. No, I didn't.
     20          And Henry go, like, What? She got a sign?     20         Q. You don't recall seeing it?
     21   He said, Yeah. He said, I'm going to say something   21         A. No.
     22   to her.                                              22         Q. You've never said anything to him about
     23          I said, Look, Henry, don't say nothing to     23      his car?
     24   that woman about that sign. I said, Sign don't       24         A. I ain't never talked to none of my
     25   vote. Sign only let someone -- let people know who   25      employees about no politics. On the grounds, off


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      1   the grounds. No.                                       1               MR. CARPENTER: And I don't have any.
      2     Q. Talked to the employees. What about               2               THE COURT REPORTER: Do you want to
      3   people in the community? Have you told people in       3           do the same with him?
      4   the community that you were going to get rid of the    4               MR. CARPENTER: Do you want to read
      5   snakes who didn't support you?                         5           and sign? Are you good with your answers?
      6     A. I didn't say nothing like that. What's a          6               THE WITNESS: I'm good.
      7   snake? I ain't never said nothing like that.           7               MR. CARPENTER: No. We'll waive.
      8     Q. Did you tell anybody in the community that        8               THE COURT REPORTER: Okay. Do you
      9   you were going to fire the people who did not          9           still need a copy?
     10   support you?                                          10               MR. CARPENTER: Oh, yeah.
     11     A. I didn't know any of my people was               11          (DEPOSITION CONCLUDED AT 4:00 P.M.)
     12   involved in politics.                                 12
     13     Q. Do you know Connie Hollands?                     13      ORIGINAL: CARROLL E. RHODES, ESQ.
     14     A. Connie Hollands?                                 14      COPY: THOMAS L. CARPENTER, JR., ESQ.
     15     Q. Hollands.                                        15
     16     A. Yeah, I know Connie.                             16
     17     Q. Did you recall Connie Hollands calling you       17
     18   and talking to you about rehiring Carolyn Smith?      18
     19     A. She did.                                         19
     20     Q. And do you recall telling her that -- she        20
     21   asked -- you said she could ask for any favor other   21
     22   than that?                                            22
     23     A. Possibility.
                                                                23
     24     Q. And do you recall telling Connie Hollands
                                                                24
     25   did you not rehire Carolyn Smith because she did
                                                                25


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      1   not support you for sheriff?                           1             CERTIFICATE OF COURT REPORTER
      2     A. Again, I don't know who supported me. I           2        I, Ella J. Hardwick, CVR-M, CCR #1749, Court
      3   didn't go in no poll with no one to vote. I don't      3     Reporter and Notary Public in and for the State of
      4   know. I didn't ask any of my employees to support      4     Mississippi, hereby certify that the foregoing
      5   me.                                                    5     contains a true and correct transcript, to the best
      6     Q. Do you recall telling someone that you            6     of my ability, as taken by me in the aforementioned
                                                                 7     matter at the time and place heretofore stated.
      7   were not going to rehire them because they did not
                                                                 8        I further certify that under the authority
      8   support you?
                                                                 9     vested in me by the State of Mississippi the
      9     A. No. No.                                          10     witness was placed under oath by me to truthfully
     10     Q. Do you recall telling Connie Hollands that       11     answer all questions in the matter. I further
     11   she could ask you for a favor for anything in the     12     certify that I am not in the employ of or related
     12   world other than to rehire Carolyn Smith?             13     to any counsel or party in this matter and have no
     13     A. I can't recall that. I can't recall that.        14     interest, monetary or otherwise, in the final
     14            MR. RHODES: Give me a minute.                15     outcome of this matter.
     15            MR. CARPENTER: No sweat.                     16        Witness my signature and seal this the 13th day
     16            MR. RHODES: We going to supplement,          17     of May, 2025.
     17         too.                                            18
     18            MR. CARPENTER: I got you. I got you          19                __________________________________
     19         covered. You're right. But before we                              Ella J. Hardwick, CVR-M, CCR #1749
     20         go --                                           20
     21            THE COURT REPORTER: Off the record?                 My Commission Expires:
                                                                21     February 8, 2029
     22            MR. RHODES: Off the record.
                                                                22
     23               (OFF THE RECORD.)
                                                                23
     24            MR. RHODES: That's it. That's all I          24
     25         have.                                           25



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